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                                                                              Document     Page 1 of 67
                                                  United States Bankruptcy Court
                                                          Northern District of Illinois                                                                             Voluntary Petition
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 Name of Debtor (if individual, enter Last, First, Middle):                                                 Name of Joint Debtor (Spouse) (Last, First, Middle):
  Zarate, Rudy                                                                                                 Zarate, Christina Danielle


All Other Names used by the Debtor in the last 8 years                                                      All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                                 (include married, maiden, and trade names):
                                                                                                               AKA Tina Zarate; FKA Christina Neeley



Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN                           Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN
(if more than one, state all)                                                                               (if more than one, state all)
  xxx-xx-9914                                                                                                  xxx-xx-0651
Street Address of Debtor (No. and Street, City, and State):                                                 Street Address of Joint Debtor (No. and Street, City, and State):
  2430 West Wilson Avenue                                                                                     2430 West Wilson Avenue
  Apt. 1                                                                                                      Apt. 1
  Chicago, IL                                                                              ZIP Code           Chicago, IL                                                                  ZIP Code
                                                                                         60625                                                                                         60625
County of Residence or of the Principal Place of Business:                                                  County of Residence or of the Principal Place of Business:
  Cook                                                                                                         Cook
Mailing Address of Debtor (if different from street address):                                               Mailing Address of Joint Debtor (if different from street address):


                                                                                           ZIP Code                                                                                        ZIP Code

Location of Principal Assets of Business Debtor
(if different from street address above):


                       Type of Debtor                                       Nature of Business                                              Chapter of Bankruptcy Code Under Which
                    (Form of Organization)                                     (Check one box)                                                 the Petition is Filed (Check one box)
                       (Check one box)                              Health Care Business                                    Chapter 7
                                                                    Single Asset Real Estate as defined                     Chapter 9                       Chapter 15 Petition for Recognition
     Individual (includes Joint Debtors)                            in 11 U.S.C. § 101 (51B)                                                                of a Foreign Main Proceeding
     See Exhibit D on page 2 of this form.                                                                                  Chapter 11
                                                                    Railroad
                                                                                                                            Chapter 12                      Chapter 15 Petition for Recognition
     Corporation (includes LLC and LLP)                             Stockbroker
                                                                                                                            Chapter 13                      of a Foreign Nonmain Proceeding
                                                                    Commodity Broker
     Partnership
                                                                    Clearing Bank
     Other (If debtor is not one of the above entities,             Other                                                                               Nature of Debts
     check this box and state type of entity below.)                                                                                                     (Check one box)
                                                                            Tax-Exempt Entity
                                                                           (Check box, if applicable)                      Debts are primarily consumer debts,                 Debts are primarily
                                                                    Debtor is a tax-exempt organization                    defined in 11 U.S.C. § 101(8) as                    business debts.
                                                                    under Title 26 of the United States                    "incurred by an individual primarily for
                                                                    Code (the Internal Revenue Code).                      a personal, family, or household purpose."

                                Filing Fee (Check one box)                                    Check one box:                          Chapter 11 Debtors
     Full Filing Fee attached                                                                      Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                   Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
     Filing Fee to be paid in installments (applicable to individuals only). Must             Check if:
     attach signed application for the court's consideration certifying that the
                                                                                                   Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
     debtor is unable to pay fee except in installments. Rule 1006(b). See Official
                                                                                                   are less than $2,343,300 (amount subject to adjustment on 4/01/13 and every three years thereafter).
     Form 3A.
                                                                                              Check all applicable boxes:
     Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                  A plan is being filed with this petition.
     attach signed application for the court's consideration. See Official Form 3B.
                                                                                                   Acceptances of the plan were solicited prepetition from one or more classes of creditors,
                                                                                                   in accordance with 11 U.S.C. § 1126(b).
Statistical/Administrative Information          *** Lorraine M. Greenberg ARDC No.: 3129023 ***                                                           THIS SPACE IS FOR COURT USE ONLY
   Debtor estimates that funds will be available for distribution to unsecured creditors.
   Debtor estimates that, after any exempt property is excluded and administrative expenses paid,
   there will be no funds available for distribution to unsecured creditors.
Estimated Number of Creditors

     1-              50-            100-           200-       1,000-        5,001-        10,001-       25,001-       50,001-          OVER
     49              99             199            999        5,000        10,000         25,000        50,000        100,000         100,000
Estimated Assets

     $0 to           $50,001 to     $100,001 to    $500,001   $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
     $50,000         $100,000       $500,000       to $1      to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                                   million    million      million        million       million
Estimated Liabilities

     $0 to           $50,001 to     $100,001 to    $500,001   $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
     $50,000         $100,000       $500,000       to $1      to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                                   million    million      million        million       million
                  Case 10-29313                 Doc 1          Filed 06/30/10 Entered 06/30/10 13:21:09                                       Desc Main
B1 (Official Form 1)(4/10)
                                                                 Document     Page 2 of 67                                                                                  Page 2
                                                                                      Name of Debtor(s):
Voluntary Petition                                                                      Zarate, Rudy
(This page must be completed and filed in every case)                                   Zarate, Christina Danielle
                                 All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet)
Location                                                                      Case Number:                         Date Filed:
Where Filed: - None -
Location                                                                              Case Number:                                   Date Filed:
Where Filed:
          Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet)
Name of Debtor:                                                     Case Number:                          Date Filed:
 - None -
District:                                                                             Relationship:                                  Judge:

                                       Exhibit A                                                                                Exhibit B
                                                                                         (To be completed if debtor is an individual whose debts are primarily consumer debts.)
  (To be completed if debtor is required to file periodic reports (e.g.,                I, the attorney for the petitioner named in the foregoing petition, declare that I
  forms 10K and 10Q) with the Securities and Exchange Commission                        have informed the petitioner that [he or she] may proceed under chapter 7, 11,
  pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934                12, or 13 of title 11, United States Code, and have explained the relief available
  and is requesting relief under chapter 11.)                                           under each such chapter. I further certify that I delivered to the debtor the notice
                                                                                        required by 11 U.S.C. §342(b).

        Exhibit A is attached and made a part of this petition.                         X     /s/ Lorraine M. Greenberg ARDC No.: June 28, 2010
                                                                                            Signature of Attorney for Debtor(s)                     (Date)
                                                                                              Lorraine M. Greenberg ARDC No.: 3129023

                                                                                Exhibit C
  Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
       Yes, and Exhibit C is attached and made a part of this petition.
       No.

                                                                           Exhibit D
  (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
        Exhibit D completed and signed by the debtor is attached and made a part of this petition.
  If this is a joint petition:
        Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                      Information Regarding the Debtor - Venue
                                                                (Check any applicable box)
                    Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180
                    days immediately preceding the date of this petition or for a longer part of such 180 days than in any other District.
                    There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
                    Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in
                    this District, or has no principal place of business or assets in the United States but is a defendant in an action or
                    proceeding [in a federal or state court] in this District, or the interests of the parties will be served in regard to the relief
                    sought in this District.
                                         Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                 (Check all applicable boxes)
                    Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)


                                       (Name of landlord that obtained judgment)




                                       (Address of landlord)

                    Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure
                    the entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
                    Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period
                    after the filing of the petition.
                    Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
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B1 (Official Form 1)(4/10)
                                                                  Document     Page 3 of 67                                                                             Page 3
                                                                                         Name of Debtor(s):
Voluntary Petition                                                                          Zarate, Rudy
(This page must be completed and filed in every case)                                       Zarate, Christina Danielle
                                                                                    Signatures
                  Signature(s) of Debtor(s) (Individual/Joint)                                          Signature of a Foreign Representative
     I declare under penalty of perjury that the information provided in this              I declare under penalty of perjury that the information provided in this petition
     petition is true and correct.                                                         is true and correct, that I am the foreign representative of a debtor in a foreign
     [If petitioner is an individual whose debts are primarily consumer debts and          proceeding, and that I am authorized to file this petition.
     has chosen to file under chapter 7] I am aware that I may proceed under
                                                                                           (Check only one box.)
     chapter 7, 11, 12, or 13 of title 11, United States Code, understand the relief
     available under each such chapter, and choose to proceed under chapter 7.                  I request relief in accordance with chapter 15 of title 11. United States Code.
     [If no attorney represents me and no bankruptcy petition preparer signs the                Certified copies of the documents required by 11 U.S.C. §1515 are attached.
     petition] I have obtained and read the notice required by 11 U.S.C. §342(b).
                                                                                                Pursuant to 11 U.S.C. §1511, I request relief in accordance with the chapter
     I request relief in accordance with the chapter of title 11, United States Code,           of title 11 specified in this petition. A certified copy of the order granting
     specified in this petition.                                                                recognition of the foreign main proceeding is attached.


      /s/ Rudy Zarate                                                                      X
 X                                                                                             Signature of Foreign Representative
     Signature of Debtor Rudy Zarate

 X    /s/ Christina Danielle Zarate                                                            Printed Name of Foreign Representative
     Signature of Joint Debtor Christina Danielle Zarate
                                                                                               Date
     Telephone Number (If not represented by attorney)                                            Signature of Non-Attorney Bankruptcy Petition Preparer
     June 28, 2010
                                                                                               I declare under penalty of perjury that: (1) I am a bankruptcy petition
     Date                                                                                      preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                               compensation and have provided the debtor with a copy of this document
                              Signature of Attorney*                                           and the notices and information required under 11 U.S.C. §§ 110(b),
                                                                                               110(h), and 342(b); and, (3) if rules or guidelines have been promulgated
                                                                                               pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
 X    /s/ Lorraine M. Greenberg ARDC No.:
                                                                                               chargeable by bankruptcy petition preparers, I have given the debtor notice
     Signature of Attorney for Debtor(s)                                                       of the maximum amount before preparing any document for filing for a
      Lorraine M. Greenberg ARDC No.: 3129023                                                  debtor or accepting any fee from the debtor, as required in that section.
                                                                                               Official Form 19 is attached.
     Printed Name of Attorney for Debtor(s)
      Lorraine M. Greenberg
                                                                                               Printed Name and title, if any, of Bankruptcy Petition Preparer
     Firm Name
      150 North Michigan Avenue
      Suite 800                                                                                Social-Security number (If the bankrutpcy petition preparer is not
      Chicago, IL 60601                                                                        an individual, state the Social Security number of the officer,
                                                                                               principal, responsible person or partner of the bankruptcy petition
     Address                                                                                   preparer.)(Required by 11 U.S.C. § 110.)

                      Email: lgreenberg@greenberglaw.net
      312-588-3330 Fax: 312-264-5620
     Telephone Number
     June 28, 2010
                                                                                               Address
     Date
     *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
     certification that the attorney has no knowledge after an inquiry that the            X
     information in the schedules is incorrect.
                                                                                               Date
                Signature of Debtor (Corporation/Partnership)
                                                                                               Signature of Bankruptcy Petition Preparer or officer, principal, responsible
     I declare under penalty of perjury that the information provided in this                  person,or partner whose Social Security number is provided above.
     petition is true and correct, and that I have been authorized to file this petition
     on behalf of the debtor.                                                                  Names and Social-Security numbers of all other individuals who prepared or
                                                                                               assisted in preparing this document unless the bankruptcy petition preparer is
     The debtor requests relief in accordance with the chapter of title 11, United             not an individual:
     States Code, specified in this petition.

 X
     Signature of Authorized Individual
                                                                                               If more than one person prepared this document, attach additional sheets
                                                                                               conforming to the appropriate official form for each person.
     Printed Name of Authorized Individual
                                                                                               A bankruptcy petition preparer’s failure to comply with the provisions of
                                                                                               title 11 and the Federal Rules of Bankruptcy Procedure may result in
     Title of Authorized Individual                                                            fines or imprisonment or both 11 U.S.C. §110; 18 U.S.C. §156.

     Date
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B 1D (Official Form 1, Exhibit D) (12/09)
                                                                 United States Bankruptcy Court
                                                                          Northern District of Illinois
             Rudy Zarate
 In re       Christina Danielle Zarate                                                                    Case No.
                                                                                       Debtor(s)          Chapter    7




                   EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                   CREDIT COUNSELING REQUIREMENT
       Warning: You must be able to check truthfully one of the five statements regarding credit
counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the court
can dismiss any case you do file. If that happens, you will lose whatever filing fee you paid, and your
creditors will be able to resume collection activities against you. If your case is dismissed and you file
another bankruptcy case later, you may be required to pay a second filing fee and you may have to take
extra steps to stop creditors' collection activities.
        Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete
and file a separate Exhibit D. Check one of the five statements below and attach any documents as directed.
           1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, and I have
a certificate from the agency describing the services provided to me. Attach a copy of the certificate and a copy
of any debt repayment plan developed through the agency.
           2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, but I do
not have a certificate from the agency describing the services provided to me. You must file a copy of a
certificate from the agency describing the services provided to you and a copy of any debt repayment plan
developed through the agency no later than 14 days after your bankruptcy case is filed.
          3. I certify that I requested credit counseling services from an approved agency but was unable to
obtain the services during the seven days from the time I made my request, and the following exigent
circumstances merit a temporary waiver of the credit counseling requirement so I can file my bankruptcy case
now. [Summarize exigent circumstances here.]
       If your certification is satisfactory to the court, you must still obtain the credit counseling briefing
within the first 30 days after you file your bankruptcy petition and promptly file a certificate from the
agency that provided the counseling, together with a copy of any debt management plan developed
through the agency. Failure to fulfill these requirements may result in dismissal of your case. Any
extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days.
Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy
case without first receiving a credit counseling briefing.


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B 1D (Official Form 1, Exhibit D) (12/09) - Cont.                                                                                     Page 2



          4. I am not required to receive a credit counseling briefing because of: [Check the applicable
statement.] [Must be accompanied by a motion for determination by the court.]
                  Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or
       mental deficiency so as to be incapable of realizing and making rational decisions with respect to
       financial responsibilities.);
                  Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being
       unable, after reasonable effort, to participate in a credit counseling briefing in person, by telephone, or
       through the Internet.);
                  Active military duty in a military combat zone.
         5. The United States trustee or bankruptcy administrator has determined that the credit counseling
requirement of 11 U.S.C. § 109(h) does not apply in this district.
              I certify under penalty of perjury that the information provided above is true and correct.

                                                          Signature of Debtor:            /s/ Rudy Zarate
                                                                                          Rudy Zarate
                                                          Date:           June 28, 2010




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B 1D (Official Form 1, Exhibit D) (12/09)
                                                                 United States Bankruptcy Court
                                                                          Northern District of Illinois
             Rudy Zarate
 In re       Christina Danielle Zarate                                                                    Case No.
                                                                                       Debtor(s)          Chapter    7




                   EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                   CREDIT COUNSELING REQUIREMENT
       Warning: You must be able to check truthfully one of the five statements regarding credit
counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the court
can dismiss any case you do file. If that happens, you will lose whatever filing fee you paid, and your
creditors will be able to resume collection activities against you. If your case is dismissed and you file
another bankruptcy case later, you may be required to pay a second filing fee and you may have to take
extra steps to stop creditors' collection activities.
        Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete
and file a separate Exhibit D. Check one of the five statements below and attach any documents as directed.
           1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, and I have
a certificate from the agency describing the services provided to me. Attach a copy of the certificate and a copy
of any debt repayment plan developed through the agency.
           2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, but I do
not have a certificate from the agency describing the services provided to me. You must file a copy of a
certificate from the agency describing the services provided to you and a copy of any debt repayment plan
developed through the agency no later than 14 days after your bankruptcy case is filed.
          3. I certify that I requested credit counseling services from an approved agency but was unable to
obtain the services during the seven days from the time I made my request, and the following exigent
circumstances merit a temporary waiver of the credit counseling requirement so I can file my bankruptcy case
now. [Summarize exigent circumstances here.]
       If your certification is satisfactory to the court, you must still obtain the credit counseling briefing
within the first 30 days after you file your bankruptcy petition and promptly file a certificate from the
agency that provided the counseling, together with a copy of any debt management plan developed
through the agency. Failure to fulfill these requirements may result in dismissal of your case. Any
extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days.
Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy
case without first receiving a credit counseling briefing.


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B 1D (Official Form 1, Exhibit D) (12/09) - Cont.                                                                                         Page 2



          4. I am not required to receive a credit counseling briefing because of: [Check the applicable
statement.] [Must be accompanied by a motion for determination by the court.]
                  Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or
       mental deficiency so as to be incapable of realizing and making rational decisions with respect to
       financial responsibilities.);
                  Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being
       unable, after reasonable effort, to participate in a credit counseling briefing in person, by telephone, or
       through the Internet.);
                  Active military duty in a military combat zone.
         5. The United States trustee or bankruptcy administrator has determined that the credit counseling
requirement of 11 U.S.C. § 109(h) does not apply in this district.
              I certify under penalty of perjury that the information provided above is true and correct.

                                                          Signature of Debtor:            /s/ Christina Danielle Zarate
                                                                                          Christina Danielle Zarate
                                                          Date:           June 28, 2010




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B6 Summary (Official Form 6 - Summary) (12/07)


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                                                                 United States Bankruptcy Court
                                                                          Northern District of Illinois
  In re          Rudy Zarate,                                                                                      Case No.
                 Christina Danielle Zarate
                                                                                                            ,
                                                                                           Debtors                 Chapter                 7




                                                                     SUMMARY OF SCHEDULES
     Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A,
     B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets.
     Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must
     also complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under chapter 7, 11, or 13.




              NAME OF SCHEDULE                            ATTACHED               NO. OF        ASSETS                 LIABILITIES           OTHER
                                                           (YES/NO)              SHEETS

A - Real Property                                                Yes                1                       0.00


B - Personal Property                                            Yes                4                31,647.00


C - Property Claimed as Exempt                                   Yes                1


D - Creditors Holding Secured Claims                             Yes                1                                              0.00


E - Creditors Holding Unsecured                                  Yes                1                                              0.00
    Priority Claims (Total of Claims on Schedule E)

F - Creditors Holding Unsecured                                  Yes                23                                        45,790.00
    Nonpriority Claims

G - Executory Contracts and                                      Yes                1
   Unexpired Leases

H - Codebtors                                                    Yes                1


I - Current Income of Individual                                 Yes                1                                                               3,266.21
    Debtor(s)

J - Current Expenditures of Individual                           Yes                2                                                               3,265.00
    Debtor(s)

   Total Number of Sheets of ALL Schedules                                          36


                                                                           Total Assets              31,647.00


                                                                                             Total Liabilities                45,790.00




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Form 6 - Statistical Summary (12/07)


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                                                                 United States Bankruptcy Court
                                                                          Northern District of Illinois
  In re           Rudy Zarate,                                                                                             Case No.
                  Christina Danielle Zarate
                                                                                                                ,
                                                                                             Debtors                       Chapter             7


               STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
          If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.§ 101(8)), filing
          a case under chapter 7, 11 or 13, you must report all information requested below.

                   Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to
                   report any information here.

          This information is for statistical purposes only under 28 U.S.C. § 159.
          Summarize the following types of liabilities, as reported in the Schedules, and total them.


              Type of Liability                                                                        Amount

              Domestic Support Obligations (from Schedule E)                                                            0.00

              Taxes and Certain Other Debts Owed to Governmental Units
              (from Schedule E)
                                                                                                                        0.00

              Claims for Death or Personal Injury While Debtor Was Intoxicated
              (from Schedule E) (whether disputed or undisputed)
                                                                                                                        0.00

              Student Loan Obligations (from Schedule F)                                                                0.00

              Domestic Support, Separation Agreement, and Divorce Decree
              Obligations Not Reported on Schedule E
                                                                                                                        0.00

              Obligations to Pension or Profit-Sharing, and Other Similar Obligations
              (from Schedule F)
                                                                                                                        0.00

                                                                                     TOTAL                              0.00


              State the following:

              Average Income (from Schedule I, Line 16)                                                             3,266.21

              Average Expenses (from Schedule J, Line 18)                                                           3,265.00

              Current Monthly Income (from Form 22A Line 12; OR,
              Form 22B Line 11; OR, Form 22C Line 20 )                                                              4,048.83


              State the following:
              1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
                  column
                                                                                                                                             0.00

              2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
                  column
                                                                                                                        0.00

              3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
                  PRIORITY, IF ANY" column
                                                                                                                                             0.00

              4. Total from Schedule F                                                                                                  45,790.00

              5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                              45,790.00




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B6A (Official Form 6A) (12/07)


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  In re          Rudy Zarate,                                                                                          Case No.
                 Christina Danielle Zarate
                                                                                                              ,
                                                                                                Debtors
                                                               SCHEDULE A - REAL PROPERTY
        Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor's own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an "H," "W,"
"J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under
"Description and Location of Property."
        Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
        If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim." If the debtor is an individual or
if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.

                                                                                                              Husband,    Current Value of
                                                                                      Nature of Debtor's       Wife,     Debtor's Interest in           Amount of
                 Description and Location of Property                                 Interest in Property     Joint, or  Property, without            Secured Claim
                                                                                                             Community Deducting  any Secured
                                                                                                                         Claim or Exemption




                        None




                                                                                                              Sub-Total >               0.00          (Total of this page)

                                                                                                                   Total >              0.00
  0     continuation sheets attached to the Schedule of Real Property
                                                                                                              (Report also on Summary of Schedules)
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  In re          Rudy Zarate,                                                                                               Case No.
                 Christina Danielle Zarate
                                                                                                                ,
                                                                                               Debtors
                                                         SCHEDULE B - PERSONAL PROPERTY
    Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital community
own the property by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint
petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.
    Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                                                            N                                                                      Husband,        Current Value of
                Type of Property                            O                       Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                            N                                                                       Joint, or   without Deducting any
                                                            E                                                                     Community Secured Claim or Exemption

1.    Cash on hand                                              cash on hand                                                           J                              0.00

2.    Checking, savings or other financial                      wife's checking account                                                W                              5.00
      accounts, certificates of deposit, or                     Chase Bank
      shares in banks, savings and loan,
      thrift, building and loan, and                            husband's checking account                                             H                           400.00
      homestead associations, or credit                         Chase Bank
      unions, brokerage houses, or
      cooperatives.

3.    Security deposits with public                             security deposit with landlord                                         J                        1,250.00
      utilities, telephone companies,
      landlords, and others.

4.    Household goods and furnishings,                          household goods and furnishings; linens, dishes,                       J                        3,000.00
      including audio, video, and                               pots & pans, housewares;
      computer equipment.

5.    Books, pictures and other art                             bible; textbooks; pictures                                             J                           100.00
      objects, antiques, stamp, coin,
      record, tape, compact disc, and
      other collections or collectibles.

6.    Wearing apparel.                                          necessary personal clothing; bible; textbooks;                         J                           300.00
                                                                pictures

7.    Furs and jewelry.                                         misc. jewelry                                                          J                           500.00

8.    Firearms and sports, photographic,                        misc. hobby equipment                                                  J                           500.00
      and other hobby equipment.

9.    Interests in insurance policies.                          husband's term life Insurance                                          H                              0.00
      Name insurance company of each                            the Hartford
      policy and itemize surrender or                           no cash value, disclosure only
      refund value of each.

10. Annuities. Itemize and name each                        X
    issuer.




                                                                                                                                       Sub-Total >            6,055.00
                                                                                                                           (Total of this page)

  3     continuation sheets attached to the Schedule of Personal Property

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  In re          Rudy Zarate,                                                                                               Case No.
                 Christina Danielle Zarate
                                                                                                                ,
                                                                                                Debtors
                                                         SCHEDULE B - PERSONAL PROPERTY
                                                                                       (Continuation Sheet)

                                                            N                                                                      Husband,        Current Value of
                Type of Property                            O                       Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                            N                                                                       Joint, or   without Deducting any
                                                            E                                                                     Community Secured Claim or Exemption

11. Interests in an education IRA as                        X
    defined in 26 U.S.C. § 530(b)(1) or
    under a qualified State tuition plan
    as defined in 26 U.S.C. § 529(b)(1).
    Give particulars. (File separately the
    record(s) of any such interest(s).
    11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh, or                          husband's 401k                                                         H                        7,842.00
    other pension or profit sharing                             Hewitt Associates llc
    plans. Give particulars.                                    disclosure only

13. Stock and interests in incorporated                         joint brokerage account                                                J                              0.00
    and unincorporated businesses.                              Etrade
    Itemize.                                                    no cash value, disclosure only

14. Interests in partnerships or joint                      X
    ventures. Itemize.

15. Government and corporate bonds                          X
    and other negotiable and
    nonnegotiable instruments.

16. Accounts receivable.                                    X

17. Alimony, maintenance, support, and                      X
    property settlements to which the
    debtor is or may be entitled. Give
    particulars.

18. Other liquidated debts owed to debtor X
    including tax refunds. Give particulars.


19. Equitable or future interests, life                     X
    estates, and rights or powers
    exercisable for the benefit of the
    debtor other than those listed in
    Schedule A - Real Property.

20. Contingent and noncontingent                            X
    interests in estate of a decedent,
    death benefit plan, life insurance
    policy, or trust.




                                                                                                                                       Sub-Total >            7,842.00
                                                                                                                           (Total of this page)

Sheet 1 of 3          continuation sheets attached
to the Schedule of Personal Property

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  In re          Rudy Zarate,                                                                                               Case No.
                 Christina Danielle Zarate
                                                                                                                ,
                                                                                                Debtors
                                                         SCHEDULE B - PERSONAL PROPERTY
                                                                                       (Continuation Sheet)

                                                            N                                                                      Husband,        Current Value of
                Type of Property                            O                       Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                            N                                                                       Joint, or   without Deducting any
                                                            E                                                                     Community Secured Claim or Exemption

21. Other contingent and unliquidated                           personal injury claim arising out of auto accident                     W                      15,000.00
    claims of every nature, including                           which occurred on May 18, 2008 vs. Ilie & Livia
    tax refunds, counterclaims of the                           Venter 2010 M1 - 301236
    debtor, and rights to setoff claims.
    Give estimated value of each.                               debtors attorney: Apicella Malatesta LLC, 134 N
                                                                LaSalle Street, Suite 320, Chicago, Il 60602
                                                                312-823-4054

22. Patents, copyrights, and other                          X
    intellectual property. Give
    particulars.

23. Licenses, franchises, and other                         X
    general intangibles. Give
    particulars.

24. Customer lists or other compilations                    X
    containing personally identifiable
    information (as defined in 11 U.S.C.
    § 101(41A)) provided to the debtor
    by individuals in connection with
    obtaining a product or service from
    the debtor primarily for personal,
    family, or household purposes.

25. Automobiles, trucks, trailers, and                          1996 Honda Accord                                                      J                        2,750.00
    other vehicles and accessories.                             130,000 miles

26. Boats, motors, and accessories.                         X

27. Aircraft and accessories.                               X

28. Office equipment, furnishings, and                      X
    supplies.

29. Machinery, fixtures, equipment, and                     X
    supplies used in business.

30. Inventory.                                              X

31. Animals.                                                    dog                                                                    J                              0.00

32. Crops - growing or harvested. Give                      X
    particulars.

33. Farming equipment and                                   X
    implements.

34. Farm supplies, chemicals, and feed.                     X



                                                                                                                                       Sub-Total >          17,750.00
                                                                                                                           (Total of this page)

Sheet 2 of 3          continuation sheets attached
to the Schedule of Personal Property

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  In re          Rudy Zarate,                                                                                               Case No.
                 Christina Danielle Zarate
                                                                                                                ,
                                                                                                Debtors
                                                         SCHEDULE B - PERSONAL PROPERTY
                                                                                       (Continuation Sheet)

                                                            N                                                                      Husband,        Current Value of
                Type of Property                            O                       Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                            N                                                                       Joint, or   without Deducting any
                                                            E                                                                     Community Secured Claim or Exemption

35. Other personal property of any kind                     X
    not already listed. Itemize.




                                                                                                                                       Sub-Total >                  0.00
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                                                                                                                                            Total >         31,647.00
Sheet 3 of 3          continuation sheets attached
to the Schedule of Personal Property                                                                                                   (Report also on Summary of Schedules)
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   In re          Rudy Zarate,                                                                                                 Case No.
                  Christina Danielle Zarate
                                                                                                                   ,
                                                                                                Debtors
                                             SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
 Debtor claims the exemptions to which debtor is entitled under:                                          Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                                          $146,450. (Amount subject to adjustment on 4/1/13, and every three years thereafter
    11 U.S.C. §522(b)(2)                                                                                               with respect to cases commenced on or after the date of adjustment.)
    11 U.S.C. §522(b)(3)

                                                                                        Specify Law Providing                         Value of                 Current Value of
                    Description of Property                                                Each Exemption                             Claimed                  Property Without
                                                                                                                                     Exemption               Deducting Exemption
Checking, Savings, or Other Financial Accounts, Certificates of Deposit
wife's checking account                           735 ILCS 5/12-1001(b)                                                                            5.00                             5.00
Chase Bank

husband's checking account                                                     735 ILCS 5/12-1001(b)                                           400.00                           400.00
Chase Bank

Security Deposits with Utilities, Landlords, and Others
security deposit with landlord                       735 ILCS 5/12-1001(b)                                                                   1,250.00                         1,250.00

Household Goods and Furnishings
household goods and furnishings; linens,                                       735 ILCS 5/12-1001(b)                                         3,000.00                         3,000.00
dishes, pots & pans, housewares;

Books, Pictures and Other Art Objects; Collectibles
bible; textbooks; pictures                          735 ILCS 5/12-1001(a)                                                                      100.00                           100.00

Wearing Apparel
necessary personal clothing; bible; textbooks;                                 735 ILCS 5/12-1001(a)                                           300.00                           300.00
pictures

Furs and Jewelry
misc. jewelry                                                                  735 ILCS 5/12-1001(b)                                           500.00                           500.00

Firearms and Sports, Photographic and Other Hobby Equipment
misc. hobby equipment                           735 ILCS 5/12-1001(b)                                                                          500.00                           500.00

Interests in Insurance Policies
husband's term life Insurance                                                  215 ILCS 5/238                                                      0.00                             0.00
the Hartford
no cash value, disclosure only

Interests in IRA, ERISA, Keogh, or Other Pension or Profit Sharing Plans
husband's 401k                                      735 ILCS 5/12-1006                                                                           100%                         7,842.00
Hewitt Associates llc
disclosure only

Other Contingent and Unliquidated Claims of Every Nature
personal injury claim arising out of auto         735 ILCS 5/12-1001(h)(4)                                                                 15,000.00                        15,000.00
accident which occurred on May 18, 2008 vs.
Ilie & Livia Venter 2010 M1 - 301236

debtors attorney: Apicella Malatesta LLC, 134 N
LaSalle Street, Suite 320, Chicago, Il 60602
312-823-4054

Automobiles, Trucks, Trailers, and Other Vehicles
1996 Honda Accord                                                              735 ILCS 5/12-1001(c)                                         4,800.00                         2,750.00
130,000 miles


                                                                                                                   Total:                  33,697.00                        31,647.00
    0      continuation sheets attached to Schedule of Property Claimed as Exempt
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  In re          Rudy Zarate,                                                                                                 Case No.
                 Christina Danielle Zarate
                                                                                                                 ,
                                                                                                  Debtors
                                    SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

       State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of
 the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided
 if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and
 other security interests.
       List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, the child's initials and the name and address of the child's parent or
 guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured
 creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor" ,include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".
       If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled "Unliquidated". If the
 claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three columns.)
       Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes labeled "Total(s)" on the last
 sheet of the completed schedule. Report the total from the column labeled "Amount of Claim" also on the Summary of Schedules and, if the debtor is an individual with
 primarily consumer debts, report the total from the column labeled "Unsecured Portion" on the Statistical Summary of Certain Liabilities and Related Data.
       Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                             C   Husband, Wife, Joint, or Community                       C    U   D     AMOUNT OF
             CREDITOR'S NAME                                 O                                                            O    N   I
                                                             D   H             DATE CLAIM WAS INCURRED,                   N    L   S        CLAIM
          AND MAILING ADDRESS                                E                                                            T    I   P       WITHOUT           UNSECURED
           INCLUDING ZIP CODE,                               B   W               NATURE OF LIEN, AND                      I    Q   U                         PORTION, IF
                                                             T   J              DESCRIPTION AND VALUE                     N    U   T
                                                                                                                                          DEDUCTING
          AND ACCOUNT NUMBER                                 O                                                            G    I   E       VALUE OF             ANY
            (See instructions above.)
                                                                 C                   OF PROPERTY
                                                             R
                                                                                    SUBJECT TO LIEN
                                                                                                                          E    D   D     COLLATERAL
                                                                                                                          N    A
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Account No.                                                                                                                    E
                                                                                                                               D




                                                                      Value $
Account No.




                                                                      Value $
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                                                                      Value $
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_____ continuation sheets attached
                                                                                                              (Total of this page)
                                                                                                                          Total                  0.00                      0.00
                                                                                                (Report on Summary of Schedules)

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  In re          Rudy Zarate,                                                                                                      Case No.
                 Christina Danielle Zarate
                                                                                                                      ,
                                                                                                  Debtors
                    SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
           A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled
     to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the
     account number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate
     continuation sheet for each type of priority and label each with the type of priority.
           The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do
     so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian."
     Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
           If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
     schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
     liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the
     column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled
     "Disputed." (You may need to place an "X" in more than one of these three columns.)
           Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled
     "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.
           Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority
     listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total
     also on the Statistical Summary of Certain Liabilities and Related Data.
           Report the total of amounts not entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts not entitled to
     priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this
     total also on the Statistical Summary of Certain Liabilities and Related Data.

          Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

     TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
          Domestic support obligations
         Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or responsible relative
     of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11 U.S.C. § 507(a)(1).

          Extensions of credit in an involuntary case
         Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the appointment of a
     trustee or the order for relief. 11 U.S.C. § 507(a)(3).

          Wages, salaries, and commissions
         Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying independent sales
     representatives up to $11,725* per person earned within 180 days immediately preceding the filing of the original petition, or the cessation of business, whichever
     occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

          Contributions to employee benefit plans
        Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the cessation of business,
     whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

          Certain farmers and fishermen
          Claims of certain farmers and fishermen, up to $5,775* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

          Deposits by individuals
         Claims of individuals up to $2,600* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that were not
     delivered or provided. 11 U.S.C. § 507(a)(7).

          Taxes and certain other debts owed to governmental units
          Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

          Commitments to maintain the capital of an insured depository institution
        Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of the Federal
     Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).

          Claims for death or personal injury while debtor was intoxicated
        Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a drug, or
     another substance. 11 U.S.C. § 507(a)(10).




     * Amount subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                                0          continuation sheets attached
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   In re          Rudy Zarate,                                                                                           Case No.
                  Christina Danielle Zarate
                                                                                                                     ,
                                                                                                   Debtors

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
       State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the
 debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the
 trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's
 parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not
 include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."
       If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the
 claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)
       Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of
 Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.


       Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

                                                                            C   Husband, Wife, Joint, or Community                          C   U   D
                    CREDITOR'S NAME,                                        O                                                               O   N   I
                    MAILING ADDRESS                                         D   H                                                           N   L   S
                  INCLUDING ZIP CODE,                                       E                 DATE CLAIM WAS INCURRED AND                   T   I   P
                                                                                W
                 AND ACCOUNT NUMBER
                                                                            B               CONSIDERATION FOR CLAIM. IF CLAIM               I   Q   U
                                                                                                                                                        AMOUNT OF CLAIM
                                                                            T   J                                                           N   U   T
                                                                            O                 IS SUBJECT TO SETOFF, SO STATE.               G   I   E
                   (See instructions above.)                                R
                                                                                C
                                                                                                                                            E   D   D
                                                                                                                                            N   A
Account No. 9071200019                                                              8/01                                                    T   T
                                                                                                                                                E
                                                                                    Personal Loan                                               D

1st Financial Federal Credit Union
5916 North Lindbergh                                                            J
Hazelwood, MO 63042

                                                                                                                                                                         478.00
Account No.

Berlin-Wheeler Inc
711 West McCarty St                                                                 1st Financial Federal Credit Union                                             Notice Only
Jefferson City, MO 65101



Account No. 7100114                                                                 3/08
                                                                                    Medical Services
Amc Anesthesia
5145 N California Ave                                                           H
Chicago, IL 60625

                                                                                                                                                                         272.00
Account No. 100233513

Armor Systems Co
1700 Kiefer Dr Ste 1                                                                Amc Anesthesia                                                                 Notice Only
Zion, IL 60099



                                                                                                                                        Subtotal
 22 continuation sheets attached
_____                                                                                                                                                                    750.00
                                                                                                                              (Total of this page)




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   In re          Rudy Zarate,                                                                                           Case No.
                  Christina Danielle Zarate
                                                                                                                     ,
                                                                                                   Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                        (Continuation Sheet)




                                                                            C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                        O                                                           O   N   I
                    MAILING ADDRESS                                         D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
                                                                            E
                                                                                W
                                                                                              DATE CLAIM WAS INCURRED AND               T   I   P
                                                                            B                                                           I   Q   U
                 AND ACCOUNT NUMBER                                         T   J           CONSIDERATION FOR CLAIM. IF CLAIM           N   U   T   AMOUNT OF CLAIM
                                                                            O   C             IS SUBJECT TO SETOFF, SO STATE.           G   I   E
                   (See instructions above.)                                R                                                           E   D   D
                                                                                                                                        N   A
                                                                                                                                        T   T
Account No. 4227-0973-4741-6096                                                     10/99                                                   E
                                                                                    Misc. Credit Card Purchases                             D

Applied Card Bank / Cross Country
Attention: General Inquiries                                                    H
Po Box 17125
Wilmington, DE 19850
                                                                                                                                                                  894.00
Account No.

Applied Card Bank
601 Delaware Ave                                                                    Applied Card Bank / Cross Country                                       Notice Only
Wilmington, DE 19801



Account No.

First National Collection
230 S. Rock Blvd                                                                    Applied Card Bank / Cross Country                                       Notice Only
Reno, NV 89502



Account No. 1002231301                                                              Opened 4/01/08
                                                                                    CollectionAttorney Swedish Covenant Medical
Armor Systems Co                                                                    Assoc
1700 Kiefer Dr                                                                  H
Suite 1
Zion, IL 60099
                                                                                                                                                                  452.00
Account No.

Armor Systems Co
1700 Kiefer Dr Ste 1                                                                Armor Systems Co                                                        Notice Only
Zion, IL 60099



           1
Sheet no. _____     22 sheets attached to Schedule of
                of _____                                                                                                              Subtotal
                                                                                                                                                                1,346.00
Creditors Holding Unsecured Nonpriority Claims                                                                              (Total of this page)




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   In re          Rudy Zarate,                                                                                           Case No.
                  Christina Danielle Zarate
                                                                                                                     ,
                                                                                                   Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                        (Continuation Sheet)




                                                                            C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                        O                                                           O   N   I
                    MAILING ADDRESS                                         D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
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                                                                                              DATE CLAIM WAS INCURRED AND               T   I   P
                                                                            B                                                           I   Q   U
                 AND ACCOUNT NUMBER                                         T   J           CONSIDERATION FOR CLAIM. IF CLAIM           N   U   T   AMOUNT OF CLAIM
                                                                            O   C             IS SUBJECT TO SETOFF, SO STATE.           G   I   E
                   (See instructions above.)                                R                                                           E   D   D
                                                                                                                                        N   A
                                                                                                                                        T   T
Account No. 1002333513                                                              Opened 10/01/08                                         E
                                                                                    CollectionAttorney Amc Anesthesia                       D

Armor Systems Co
1700 Kiefer Dr                                                                  J
Suite 1
Zion, IL 60099
                                                                                                                                                                      0.00
Account No.

Armor Systems Co
1700 Kiefer Dr Ste 1                                                                Armor Systems Co                                                        Notice Only
Zion, IL 60099



Account No. 1002132705                                                              Opened 7/01/07
                                                                                    CollectionAttorney Swedish Covenant Hospital
Armor Systems Co
1700 Kiefer Dr                                                                  H
Suite 1
Zion, IL 60099
                                                                                                                                                                    80.00
Account No.

Armor Systems Co
1700 Kiefer Dr Ste 1                                                                Armor Systems Co                                                        Notice Only
Zion, IL 60099



Account No. 30196025                                                                4/10
                                                                                    Old Rent/Utilities
AT&T
PO Box 5014                                                                     J
Carol Stream, IL 60197

                                                                                                                                                                  455.00

           2
Sheet no. _____     22 sheets attached to Schedule of
                of _____                                                                                                              Subtotal
                                                                                                                                                                  535.00
Creditors Holding Unsecured Nonpriority Claims                                                                              (Total of this page)




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   In re          Rudy Zarate,                                                                                           Case No.
                  Christina Danielle Zarate
                                                                                                                     ,
                                                                                                   Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                        (Continuation Sheet)




                                                                            C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                        O                                                           O   N   I
                    MAILING ADDRESS                                         D   H                                                       N   L   S
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                                                                                              DATE CLAIM WAS INCURRED AND               T   I   P
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                 AND ACCOUNT NUMBER                                         T   J           CONSIDERATION FOR CLAIM. IF CLAIM           N   U   T   AMOUNT OF CLAIM
                                                                            O   C             IS SUBJECT TO SETOFF, SO STATE.           G   I   E
                   (See instructions above.)                                R                                                           E   D   D
                                                                                                                                        N   A
                                                                                                                                        T   T
Account No.                                                                                                                                 E
                                                                                                                                            D

Enhanced Recovery Corp
8014 Bayberry Rd                                                                    AT&T                                                                    Notice Only
Jacksonville, FL 32256



Account No.

IC System Inc
444 Highway 96 East                                                                 AT&T                                                                    Notice Only
PO Box 64887
Saint Paul, MN 55164


Account No.

West Asset Management
7171 Mercy Rd                                                                       AT&T                                                                    Notice Only
Omaha, NE 68106



Account No. 3811339                                                                 01 Hsbc

Atlantic Crd
P O Box 13386                                                                   H
Roanoke, VA 24033

                                                                                                                                                                1,420.00
Account No. 3803390                                                                 01 Hsbc

Atlantic Crd
P O Box 13386                                                                   J
Roanoke, VA 24033

                                                                                                                                                                1,415.00

           3
Sheet no. _____     22 sheets attached to Schedule of
                of _____                                                                                                              Subtotal
                                                                                                                                                                2,835.00
Creditors Holding Unsecured Nonpriority Claims                                                                              (Total of this page)




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   In re          Rudy Zarate,                                                                                           Case No.
                  Christina Danielle Zarate
                                                                                                                     ,
                                                                                                   Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                        (Continuation Sheet)




                                                                            C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                        O                                                           O   N   I
                    MAILING ADDRESS                                         D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
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                                                                                              DATE CLAIM WAS INCURRED AND               T   I   P
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                 AND ACCOUNT NUMBER                                         T   J           CONSIDERATION FOR CLAIM. IF CLAIM           N   U   T   AMOUNT OF CLAIM
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                   (See instructions above.)                                R                                                           E   D   D
                                                                                                                                        N   A
                                                                                                                                        T   T
Account No. 0651                                                                    2003                                                    E
                                                                                    Medical Services                                        D

Breakthrough Pain Relief Clinic
190 Spring Dr                                                                   W
Saint Charles, MO 63303

                                                                                                                                                                6,000.00
Account No.

Breakthrough Pain Relief Clinic
1585 Woodlake Dr                                                                    Breakthrough Pain Relief Clinic                                         Notice Only
Suite 214
Chesterfield, MO 63017


Account No. 120000534863                                                            Opened 10/01/09
                                                                                    CollectionAttorney Capital One Bank Usa Na
Cach Llc
Attention: Bankruptcy Department                                                H
4340 South Monaco St. 2nd Floor
Denver, CO 80237
                                                                                                                                                                  779.00
Account No.

Cach Llc
370 17th Street                                                                     Cach Llc                                                                Notice Only
Denver, CO 80202



Account No. 13659234                                                                Opened 10/01/09
                                                                                    CollectionAttorney Hsbc Bank Nevada
Calvary Portfolio Services
Attention: Bankruptcy Department                                                J
Po Box 1017
Hawthorne, NY 10532
                                                                                                                                                                1,806.00

           4
Sheet no. _____     22 sheets attached to Schedule of
                of _____                                                                                                              Subtotal
                                                                                                                                                                8,585.00
Creditors Holding Unsecured Nonpriority Claims                                                                              (Total of this page)




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   In re          Rudy Zarate,                                                                                           Case No.
                  Christina Danielle Zarate
                                                                                                                     ,
                                                                                                   Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                        (Continuation Sheet)




                                                                            C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                        O                                                           O   N   I
                    MAILING ADDRESS                                         D   H                                                       N   L   S
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                 AND ACCOUNT NUMBER                                         T   J           CONSIDERATION FOR CLAIM. IF CLAIM           N   U   T   AMOUNT OF CLAIM
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                   (See instructions above.)                                R                                                           E   D   D
                                                                                                                                        N   A
                                                                                                                                        T   T
Account No.                                                                                                                                 E
                                                                                                                                            D

Calvary Portfolio Services
7 Skyline Dr Ste 3                                                                  Calvary Portfolio Services                                              Notice Only
Hawthorne, NY 10532



Account No. 5178-0572-8426-3857                                                     2006
                                                                                    Misc. Credit Card Purchases
Capital One
PO Box 30281                                                                    W
Salt Lake City, UT 84130

                                                                                                                                                                1,531.00
Account No.

Blatt, Hasenmiller, Leibsker & Moor
125 South Wacke Drive, Ste. 400                                                     Capital One                                                             Notice Only
Chicago, IL 60606



Account No.

Law Offices of Mitchell N Kay
205 West Randolph St                                                                Capital One                                                             Notice Only
Suite 920
Chicago, IL 60606


Account No.

NCO Financial
Po Box 12100                                                                        Capital One                                                             Notice Only
Dept 64
Trenton, NJ 08650


           5
Sheet no. _____     22 sheets attached to Schedule of
                of _____                                                                                                              Subtotal
                                                                                                                                                                1,531.00
Creditors Holding Unsecured Nonpriority Claims                                                                              (Total of this page)




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   In re          Rudy Zarate,                                                                                           Case No.
                  Christina Danielle Zarate
                                                                                                                     ,
                                                                                                   Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                        (Continuation Sheet)




                                                                            C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                        O                                                           O   N   I
                    MAILING ADDRESS                                         D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
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                                                                                              DATE CLAIM WAS INCURRED AND               T   I   P
                                                                            B                                                           I   Q   U
                 AND ACCOUNT NUMBER                                         T   J           CONSIDERATION FOR CLAIM. IF CLAIM           N   U   T   AMOUNT OF CLAIM
                                                                            O   C             IS SUBJECT TO SETOFF, SO STATE.           G   I   E
                   (See instructions above.)                                R                                                           E   D   D
                                                                                                                                        N   A
                                                                                                                                        T   T
Account No. 8373                                                                    2006                                                    E
                                                                                    Misc. Credit Card Purchases                             D

Capital One
PO Box 30281                                                                    J
Salt Lake City, UT 84130

                                                                                                                                                                      0.00
Account No. 4862-3626-2889-9570                                                     2006
                                                                                    Misc. Credit Card Purchases
Capital One Bank
Po Box 6492                                                                     H
Carol Stream, IL 60197

                                                                                                                                                                  732.00
Account No.

Capital One Bank
PO Box 30285                                                                    J
Salt Lake City, UT 84130-0285

                                                                                                                                                                      0.00
Account No. 517805728426                                                            7/07
                                                                                    Misc. Credit Card Purchases
Capital One, N.a.
C/O American Infosource                                                         J
Po Box 54529
Oklahoma City, OK 73154
                                                                                                                                                                1,864.00
Account No.

Blatt, Hasenmiller, Leibsker, Moore
125 South Wacke Drive, Ste. 400                                                     Capital One, N.a.                                                       Notice Only
Chicago, IL 60606



           6
Sheet no. _____     22 sheets attached to Schedule of
                of _____                                                                                                              Subtotal
                                                                                                                                                                2,596.00
Creditors Holding Unsecured Nonpriority Claims                                                                              (Total of this page)




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   In re          Rudy Zarate,                                                                                           Case No.
                  Christina Danielle Zarate
                                                                                                                     ,
                                                                                                   Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                        (Continuation Sheet)




                                                                            C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                        O                                                           O   N   I
                    MAILING ADDRESS                                         D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
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                                                                                              DATE CLAIM WAS INCURRED AND               T   I   P
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                 AND ACCOUNT NUMBER                                         T   J           CONSIDERATION FOR CLAIM. IF CLAIM           N   U   T   AMOUNT OF CLAIM
                                                                            O   C             IS SUBJECT TO SETOFF, SO STATE.           G   I   E
                   (See instructions above.)                                R                                                           E   D   D
                                                                                                                                        N   A
                                                                                                                                        T   T
Account No.                                                                                                                                 E
                                                                                                                                            D

Capital One Bank
PO Box 30285                                                                        Capital One, N.a.                                                       Notice Only
Salt Lake City, UT 84130-0285



Account No.

Capital One, N.a.
Po Box 85520                                                                        Capital One, N.a.                                                       Notice Only
Richmond, VA 23285



Account No. 4559-5417-0073-4080                                                     6/09
                                                                                    Misc. Credit Card Purchases
Chase / Providian
Attn: Bankruptcy Dept                                                           W
Po Box 100018
Kennesaw, GA 30156
                                                                                                                                                                  533.00
Account No.

Atlatnic Credit and Finance Inc
Po Box 1187                                                                         Chase / Providian                                                       Notice Only
Roanoke, VA 24022



Account No.

Chase
PO Box 15298                                                                        Chase / Providian                                                       Notice Only
Wilmington, DE 19850-5298



           7
Sheet no. _____     22 sheets attached to Schedule of
                of _____                                                                                                              Subtotal
                                                                                                                                                                  533.00
Creditors Holding Unsecured Nonpriority Claims                                                                              (Total of this page)




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   In re          Rudy Zarate,                                                                                           Case No.
                  Christina Danielle Zarate
                                                                                                                     ,
                                                                                                   Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                        (Continuation Sheet)




                                                                            C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                        O                                                           O   N   I
                    MAILING ADDRESS                                         D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
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                                                                                              DATE CLAIM WAS INCURRED AND               T   I   P
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                 AND ACCOUNT NUMBER                                         T   J           CONSIDERATION FOR CLAIM. IF CLAIM           N   U   T   AMOUNT OF CLAIM
                                                                            O   C             IS SUBJECT TO SETOFF, SO STATE.           G   I   E
                   (See instructions above.)                                R                                                           E   D   D
                                                                                                                                        N   A
                                                                                                                                        T   T
Account No. 6035320490427265                                                        12/05                                                   E
                                                                                    Misc. Charge Card Purchases                             D

Citibank Usa
Attn.: Centralized Bankruptcy                                                   J
Po Box 20363
Kansas City, MO 64195
                                                                                                                                                                1,904.00
Account No.

Advantage Assets Ii Inc
7322 Southwest Freeway                                                              Citibank Usa                                                            Notice Only
Suite 1600
Houston, TX 77074


Account No.

Citibank Usa
Po Box 6497                                                                         Citibank Usa                                                            Notice Only
Sioux Falls, SD 57117



Account No. F37282342

Northland Group Inc
PO Box 390905                                                                       Citibank Usa                                                            Notice Only
Minneapolis, MN 55439



Account No. 8529309630                                                              2006
                                                                                    Misc. Credit Card Purchases
Citibank Usa
Attn.: Centralized Bankruptcy                                                   H
Po Box 20363
Kansas City, MO 64195
                                                                                                                                                                1,065.00

           8
Sheet no. _____     22 sheets attached to Schedule of
                of _____                                                                                                              Subtotal
                                                                                                                                                                2,969.00
Creditors Holding Unsecured Nonpriority Claims                                                                              (Total of this page)




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   In re          Rudy Zarate,                                                                                           Case No.
                  Christina Danielle Zarate
                                                                                                                     ,
                                                                                                   Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                        (Continuation Sheet)




                                                                            C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                        O                                                           O   N   I
                    MAILING ADDRESS                                         D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
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                 AND ACCOUNT NUMBER                                         T   J           CONSIDERATION FOR CLAIM. IF CLAIM           N   U   T   AMOUNT OF CLAIM
                                                                            O   C             IS SUBJECT TO SETOFF, SO STATE.           G   I   E
                   (See instructions above.)                                R                                                           E   D   D
                                                                                                                                        N   A
                                                                                                                                        T   T
Account No.                                                                                                                                 E
                                                                                                                                            D

Midland Credit Management
8875 Aero Dr                                                                        Citibank Usa                                                            Notice Only
San Diego, CA 92123



Account No.

Midland Credit Management
Po Box 939019                                                                       Citibank Usa                                                            Notice Only
San Diego, CA 92193



Account No. 6035320206174771                                                        4/06
                                                                                    Misc. Charge Card Purchases
Citibank Usa / Home Depot
Attn.: Centralized Bankruptcy                                                   J
Po Box 20363
Kansas City, MO 64195
                                                                                                                                                                1,186.00
Account No.

Citibank Usa
Po Box 6497                                                                         Citibank Usa / Home Depot                                               Notice Only
Sioux Falls, SD 57117



Account No.

Home Depot Credit Services
PO Box 653000                                                                       Citibank Usa / Home Depot                                               Notice Only
Dallas, TX 75265-3000



           9
Sheet no. _____     22 sheets attached to Schedule of
                of _____                                                                                                              Subtotal
                                                                                                                                                                1,186.00
Creditors Holding Unsecured Nonpriority Claims                                                                              (Total of this page)




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                                                                         Document     Page 28 of 67
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   In re          Rudy Zarate,                                                                                           Case No.
                  Christina Danielle Zarate
                                                                                                                     ,
                                                                                                   Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                        (Continuation Sheet)




                                                                            C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                        O                                                           O   N   I
                    MAILING ADDRESS                                         D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
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                                                                                              DATE CLAIM WAS INCURRED AND               T   I   P
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                 AND ACCOUNT NUMBER                                         T   J           CONSIDERATION FOR CLAIM. IF CLAIM           N   U   T   AMOUNT OF CLAIM
                                                                            O   C             IS SUBJECT TO SETOFF, SO STATE.           G   I   E
                   (See instructions above.)                                R                                                           E   D   D
                                                                                                                                        N   A
                                                                                                                                        T   T
Account No.                                                                                                                                 E
                                                                                                                                            D

National Enterprise Systems
29125 Salon Road                                                                    Citibank Usa / Home Depot                                               Notice Only
Solon, OH 44139



Account No. F34264011

Northland Group Inc
PO Box 390905                                                                       Citibank Usa / Home Depot                                               Notice Only
Minneapolis, MN 55439



Account No. HG0072

Pinnacle
7900 Highway 7                                                                      Citibank Usa / Home Depot                                               Notice Only
Minneapolis, MN 55426



Account No. 1708151                                                                 Opened 4/01/05
                                                                                    CollectionAttorney Laclede Gas
Consumer Adjustment Co
12855 Tesson Ferry Rd                                                           J
Saint Louis, MO 63128

                                                                                                                                                                  130.00
Account No. 567237648                                                               2006
                                                                                    Misc. Charge Card Purchases
Credit First N.A / Dayton
Po Box 81344                                                                    H
Cleveland, OH 44188

                                                                                                                                                                      0.00

           10 of _____
Sheet no. _____    22 sheets attached to Schedule of                                                                                  Subtotal
                                                                                                                                                                  130.00
Creditors Holding Unsecured Nonpriority Claims                                                                              (Total of this page)




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   In re          Rudy Zarate,                                                                                           Case No.
                  Christina Danielle Zarate
                                                                                                                     ,
                                                                                                   Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                        (Continuation Sheet)




                                                                            C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                        O                                                           O   N   I
                    MAILING ADDRESS                                         D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
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                                                                                              DATE CLAIM WAS INCURRED AND               T   I   P
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                 AND ACCOUNT NUMBER                                         T   J           CONSIDERATION FOR CLAIM. IF CLAIM           N   U   T   AMOUNT OF CLAIM
                                                                            O   C             IS SUBJECT TO SETOFF, SO STATE.           G   I   E
                   (See instructions above.)                                R                                                           E   D   D
                                                                                                                                        N   A
                                                                                                                                        T   T
Account No. 604115930                                                               2006                                                    E
                                                                                    Misc. Charge Card Purchases                             D

Credit First N.A / Firestone
Po Box 81344                                                                    W
Cleveland, OH 44188

                                                                                                                                                                  167.00
Account No.

Client Services Inc
3451 Harry Truman Blvd                                                              Credit First N.A / Firestone                                            Notice Only
Saint Charles, MO 63301



Account No. 370332059                                                               2006
                                                                                    Misc. Credit Card Purchases
Credit One Bank
Po Box 98875                                                                    H
Las Vegas, NV 89193

                                                                                                                                                                1,347.00
Account No.

Accounts Receivable Mgmt
Po Box 129                                                                          Credit One Bank                                                         Notice Only
Thorofare, NJ 08086



Account No.

Lvnv Funding Llc
Po Box 740281                                                                       Credit One Bank                                                         Notice Only
Houston, TX 77274



           11 of _____
Sheet no. _____    22 sheets attached to Schedule of                                                                                  Subtotal
                                                                                                                                                                1,514.00
Creditors Holding Unsecured Nonpriority Claims                                                                              (Total of this page)




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   In re          Rudy Zarate,                                                                                           Case No.
                  Christina Danielle Zarate
                                                                                                                     ,
                                                                                                   Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                        (Continuation Sheet)




                                                                            C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                        O                                                           O   N   I
                    MAILING ADDRESS                                         D   H                                                       N   L   S
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                 AND ACCOUNT NUMBER                                         T   J           CONSIDERATION FOR CLAIM. IF CLAIM           N   U   T   AMOUNT OF CLAIM
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                   (See instructions above.)                                R                                                           E   D   D
                                                                                                                                        N   A
                                                                                                                                        T   T
Account No.                                                                                                                                 E
                                                                                                                                            D

Resurgent Capital Services Lp
Po Box 10497                                                                        Credit One Bank                                                         Notice Only
Greenville, SC 29603



Account No. 4447-9611-1742-5815                                                     1/06
                                                                                    Misc. Credit Card Purchases
Credit One Bank
Po Box 98875                                                                    H
Las Vegas, NV 89193

                                                                                                                                                                1,285.00
Account No.

Capital Management Services Lp
726 Exchange St                                                                     Credit One Bank                                                         Notice Only
Suite 700
Buffalo, NY 14210


Account No. 8255909643684357                                                        2/10
                                                                                    Old Rent/Utilities
Dish Network
Dept 0063                                                                       W
Palatine, IL 60055

                                                                                                                                                                    55.00
Account No.

GC Services
6330 Gulfton                                                                        Dish Network                                                            Notice Only
Houston, TX 77081



           12 of _____
Sheet no. _____    22 sheets attached to Schedule of                                                                                  Subtotal
                                                                                                                                                                1,340.00
Creditors Holding Unsecured Nonpriority Claims                                                                              (Total of this page)




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   In re          Rudy Zarate,                                                                                           Case No.
                  Christina Danielle Zarate
                                                                                                                     ,
                                                                                                   Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                        (Continuation Sheet)




                                                                            C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                        O                                                           O   N   I
                    MAILING ADDRESS                                         D   H                                                       N   L   S
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                   (See instructions above.)                                R                                                           E   D   D
                                                                                                                                        N   A
                                                                                                                                        T   T
Account No.                                                                                                                                 E
                                                                                                                                            D

GC Services
Attn: Bankruptcy                                                                    Dish Network                                                            Notice Only
8400 Miramar Rd. Suite 250
San Diego, CA 92126


Account No. 0651                                                                    2006
                                                                                    Medical Services
Dr. Brenda Onia
6374 N Lincoln Ave                                                              W
Chicago, IL 60659

                                                                                                                                                                      0.00
Account No. 30196025                                                                Opened 4/01/10
                                                                                    CollectionAttorney At T
Enhanced Recovery Corp
8014 Bayberry Rd                                                                J
Jacksonville, FL 32256

                                                                                                                                                                  455.00
Account No. 5178007326333473                                                        7/04
                                                                                    Misc. Credit Card Purchases
First Premier Bank
601 S Minnesota Ave                                                             H
Sioux Falls, SD 57104

                                                                                                                                                                  595.00
Account No. 17673937

Academy Collection Service Inc
10965 Decatur Rd                                                                    First Premier Bank                                                      Notice Only
Philadelphia, PA 19154



           13 of _____
Sheet no. _____    22 sheets attached to Schedule of                                                                                  Subtotal
                                                                                                                                                                1,050.00
Creditors Holding Unsecured Nonpriority Claims                                                                              (Total of this page)




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   In re          Rudy Zarate,                                                                                           Case No.
                  Christina Danielle Zarate
                                                                                                                     ,
                                                                                                   Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                        (Continuation Sheet)




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                    CREDITOR'S NAME,                                        O                                                           O   N   I
                    MAILING ADDRESS                                         D   H                                                       N   L   S
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                   (See instructions above.)                                R                                                           E   D   D
                                                                                                                                        N   A
                                                                                                                                        T   T
Account No. 8255909643684357                                                        Opened 2/01/10                                          E
                                                                                    CollectionAttorney Dish Network                         D

GC Services
Attn: Bankruptcy                                                                J
8400 Miramar Rd. Suite 250
San Diego, CA 92126
                                                                                                                                                                    55.00
Account No.

GC Services
6330 Gulfton                                                                        GC Services                                                             Notice Only
Houston, TX 77081



Account No. 8532972451                                                              10/09
                                                                                    Misc. Credit Card Purchases
GE Money Bank
Po Box 981064                                                                   H
San Diego, CA 92193

                                                                                                                                                                  882.00
Account No.

Midland Credit Management
8875 Aero Dr                                                                        GE Money Bank                                                           Notice Only
San Diego, CA 92123



Account No.

Midland Credit Management
Po Box 939019                                                                       GE Money Bank                                                           Notice Only
San Diego, CA 92193



           14 of _____
Sheet no. _____    22 sheets attached to Schedule of                                                                                  Subtotal
                                                                                                                                                                  937.00
Creditors Holding Unsecured Nonpriority Claims                                                                              (Total of this page)




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   In re          Rudy Zarate,                                                                                           Case No.
                  Christina Danielle Zarate
                                                                                                                     ,
                                                                                                   Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                        (Continuation Sheet)




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                    CREDITOR'S NAME,                                        O                                                           O   N   I
                    MAILING ADDRESS                                         D   H                                                       N   L   S
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                   (See instructions above.)                                R                                                           E   D   D
                                                                                                                                        N   A
                                                                                                                                        T   T
Account No. 6032201403420451                                                        2006                                                    E
                                                                                    Misc. Charge Card Purchaes                              D

GE Money Bank / Walmart
Po Box 530927                                                                   H
Atlanta, GA 30353

                                                                                                                                                                  205.00
Account No. 3803390                                                                 6/09
                                                                                    Misc. Credit Card Purchases
Hsbc
Po Box 60102                                                                    W
City of Industry, CA 91716

                                                                                                                                                                1,415.00
Account No. 3803390

Atlantic Crd
Po Box 13386                                                                        Hsbc                                                                    Notice Only
Roanoke, VA 24033



Account No.

Law Office of John P Frye PC
PO Box 13665                                                                        Hsbc                                                                    Notice Only
Roanoke, VA 24036



Account No. 5491-1000-0293-6238                                                     2006
                                                                                    Misc. Credit Card Purchases
Hsbc
Po Box 60102                                                                    W
City of Industry, CA 91716

                                                                                                                                                                1,313.00

           15 of _____
Sheet no. _____    22 sheets attached to Schedule of                                                                                  Subtotal
                                                                                                                                                                2,933.00
Creditors Holding Unsecured Nonpriority Claims                                                                              (Total of this page)




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   In re          Rudy Zarate,                                                                                           Case No.
                  Christina Danielle Zarate
                                                                                                                     ,
                                                                                                   Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                        (Continuation Sheet)




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                    CREDITOR'S NAME,                                        O                                                           O   N   I
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                   (See instructions above.)                                R                                                           E   D   D
                                                                                                                                        N   A
                                                                                                                                        T   T
Account No. 5458-0001-1339-7265                                                     9/08                                                    E
                                                                                    Misc. Credit Card Services                              D

HSBC
Po Box 60102                                                                    W
City of Industry, CA 91716

                                                                                                                                                                  977.00
Account No.

L.O. Blatt, Hasenmiller, Leibsker
Po Box 5463                                                                         HSBC                                                                    Notice Only
Chicago, IL 60680



Account No. 4247-3550-0171-0857                                                     10/09
                                                                                    Misc. Credit Card Purchases
Hsbc / Orchard Bank
PO Box 2013                                                                     W
Buffalo, NY 14240

                                                                                                                                                                1,806.00
Account No.

Accounts Receivable Mgmt
Po Box 129                                                                          Hsbc / Orchard Bank                                                     Notice Only
Thorofare, NJ 08086



Account No.

Calvary Portfolio Services
7 Skyline Dr Ste 3                                                                  Hsbc / Orchard Bank                                                     Notice Only
Hawthorne, NY 10532



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Sheet no. _____    22 sheets attached to Schedule of                                                                                  Subtotal
                                                                                                                                                                2,783.00
Creditors Holding Unsecured Nonpriority Claims                                                                              (Total of this page)




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   In re          Rudy Zarate,                                                                                           Case No.
                  Christina Danielle Zarate
                                                                                                                     ,
                                                                                                   Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                        (Continuation Sheet)




                                                                            C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                        O                                                           O   N   I
                    MAILING ADDRESS                                         D   H                                                       N   L   S
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                 AND ACCOUNT NUMBER                                         T   J           CONSIDERATION FOR CLAIM. IF CLAIM           N   U   T   AMOUNT OF CLAIM
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                   (See instructions above.)                                R                                                           E   D   D
                                                                                                                                        N   A
                                                                                                                                        T   T
Account No.                                                                                                                                 E
                                                                                                                                            D

Calvary Portfolio Services
Attention: Bankruptcy Department                                                    Hsbc / Orchard Bank                                                     Notice Only
Po Box 1017
Hawthorne, NY 10532


Account No. 5491-1000-0445-9429                                                     2006
                                                                                    Misc. Credit Card Purchases
Hsbc Bank Platinum
Po Box 81622                                                                    H
Salinas, CA 93912

                                                                                                                                                                1,319.00
Account No. 3811339

Atlatnic Credit and Finance Inc
Po Box 1187                                                                         Hsbc Bank Platinum                                                      Notice Only
Roanoke, VA 24022



Account No. 1002890406

Management Services Inc
PO Box 1099                                                                         Hsbc Bank Platinum                                                      Notice Only
Langhorne, PA 19047



Account No. 1708151                                                                 4/05
                                                                                    Old Rent/Utilities
Laclede Gas Co
Drawer 2                                                                        J
Saint Louis, MO 63171

                                                                                                                                                                  130.00

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Sheet no. _____    22 sheets attached to Schedule of                                                                                  Subtotal
                                                                                                                                                                1,449.00
Creditors Holding Unsecured Nonpriority Claims                                                                              (Total of this page)




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   In re          Rudy Zarate,                                                                                           Case No.
                  Christina Danielle Zarate
                                                                                                                     ,
                                                                                                   Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                        (Continuation Sheet)




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                    CREDITOR'S NAME,                                        O                                                           O   N   I
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                 AND ACCOUNT NUMBER                                         T   J           CONSIDERATION FOR CLAIM. IF CLAIM           N   U   T   AMOUNT OF CLAIM
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                   (See instructions above.)                                R                                                           E   D   D
                                                                                                                                        N   A
                                                                                                                                        T   T
Account No.                                                                                                                                 E
                                                                                                                                            D

Consumer Adjustment Co
12855 Tesson Ferry Rd                                                               Laclede Gas Co                                                          Notice Only
Saint Louis, MO 63128



Account No. 6035320490427265                                                        Opened 1/01/10
                                                                                    CollectionAttorney Advantage Assets Ii Inc.
Ltd Financial Svcs Lp
7322 Southwest Fwy Ste 1                                                        J
Houston, TX 77074

                                                                                                                                                                1,904.00
Account No. 4447961117425815                                                        Opened 10/01/09
                                                                                    FactoringCompanyAccount Marin
Lvnv Funding Llc
Po Box 740281                                                                   H
Houston, TX 77274

                                                                                                                                                                1,432.00
Account No. 361108                                                                  2006
                                                                                    Disability Overpayment
Matrix Absence Management Inc
5225 Hellyer Ave                                                                H
Suite 210
San Jose, CA 95138
                                                                                                                                                                  111.00
Account No. MC2473                                                                  2006
                                                                                    Medical Services
McKinley Chiropractic PC
PO Box 270345                                                                   H
Milwaukee, WI 53227

                                                                                                                                                                  189.00

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Sheet no. _____    22 sheets attached to Schedule of                                                                                  Subtotal
                                                                                                                                                                3,636.00
Creditors Holding Unsecured Nonpriority Claims                                                                              (Total of this page)




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   In re          Rudy Zarate,                                                                                           Case No.
                  Christina Danielle Zarate
                                                                                                                     ,
                                                                                                   Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                        (Continuation Sheet)




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                    CREDITOR'S NAME,                                        O                                                           O   N   I
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                   (See instructions above.)                                R                                                           E   D   D
                                                                                                                                        N   A
                                                                                                                                        T   T
Account No. 8529309630                                                              Citibank Usa N A                                        E
                                                                                                                                            D

Midland Credit Management
Po Box 939019                                                                   H
San Diego, CA 92193

                                                                                                                                                                1,065.00
Account No.

Midland Credit Management
8875 Aero Dr                                                                        Midland Credit Management                                               Notice Only
San Diego, CA 92123



Account No. 8532972451                                                              Opened 10/01/09
                                                                                    FactoringCompanyAccount Ge Money Bank
Midland Credit Management
Po Box 939019                                                                   H
San Diego, CA 92193

                                                                                                                                                                  882.00
Account No.

Midland Credit Management
8875 Aero Dr                                                                        Midland Credit Management                                               Notice Only
San Diego, CA 92123



Account No. 10170                                                                   2/08
                                                                                    Medical Services
Northshore Pediatric Associates
6373 N Lincoln Ave                                                              J
Suite 203
Chicago, IL 60659
                                                                                                                                                                      0.00

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Sheet no. _____    22 sheets attached to Schedule of                                                                                  Subtotal
                                                                                                                                                                1,947.00
Creditors Holding Unsecured Nonpriority Claims                                                                              (Total of this page)




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   In re          Rudy Zarate,                                                                                           Case No.
                  Christina Danielle Zarate
                                                                                                                     ,
                                                                                                   Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                        (Continuation Sheet)




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                    CREDITOR'S NAME,                                        O                                                           O   N   I
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                 AND ACCOUNT NUMBER                                         T   J           CONSIDERATION FOR CLAIM. IF CLAIM           N   U   T   AMOUNT OF CLAIM
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                   (See instructions above.)                                R                                                           E   D   D
                                                                                                                                        N   A
                                                                                                                                        T   T
Account No. 2021956247117                                                           2006                                                    E
                                                                                    Medical Services                                        D

Northwestern Hospital
251 East Huron St                                                               W
Chicago, IL 60611

                                                                                                                                                                      0.00
Account No.

Pinnacle
7900 Highway 7                                                                      Northwestern Hospital                                                   Notice Only
Minneapolis, MN 55426



Account No. HG0072                                                                  Opened 12/01/09
                                                                                    FactoringCompanyAccount Citibank
Pinnacle Credit Serivc
Po Box 640                                                                      J
Hopkins, MN 55343

                                                                                                                                                                1,208.00
Account No.

Pinnacle Credit Serivc
7900 Highway 7 # 100                                                                Pinnacle Credit Serivc                                                  Notice Only
Saint Louis Park, MN 55426



Account No. 1002132705                                                              7/07
                                                                                    Medical Services
Swedish Covenant Hospital
5145 N California Ave                                                           H
Chicago, IL 60625

                                                                                                                                                                    80.00

           20 of _____
Sheet no. _____    22 sheets attached to Schedule of                                                                                  Subtotal
                                                                                                                                                                1,288.00
Creditors Holding Unsecured Nonpriority Claims                                                                              (Total of this page)




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   In re          Rudy Zarate,                                                                                           Case No.
                  Christina Danielle Zarate
                                                                                                                     ,
                                                                                                   Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                        (Continuation Sheet)




                                                                            C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                        O                                                           O   N   I
                    MAILING ADDRESS                                         D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
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                                                                                                                                        N   A
                                                                                                                                        T   T
Account No.                                                                                                                                 E
                                                                                                                                            D

Armor Systems Co
1700 Kiefer Dr Ste 1                                                                Swedish Covenant Hospital                                               Notice Only
Zion, IL 60099



Account No. 38338448                                                                2/08
                                                                                    Medical Services
Swedish Covenant Hospital
5145 N California Ave                                                           H
Chicago, IL 60625

                                                                                                                                                                  830.00
Account No. 38271128                                                                4/08
                                                                                    Medical Services
Swedish Covenant Hospital
5145 N California Ave                                                           H
Chicago, IL 60625

                                                                                                                                                                1,637.00
Account No. C0626400                                                                9/07
                                                                                    Medical Services
Swedish Covenant Hospital
5145 N California Ave                                                           W
Chicago, IL 60625

                                                                                                                                                                      8.00
Account No. DA0578096                                                               4/08
                                                                                    Medical Services
Swedish Covenant Medical Assoc
3649 Paysphere Circle                                                           H
Chicago, IL 60674

                                                                                                                                                                  453.00

           21 of _____
Sheet no. _____    22 sheets attached to Schedule of                                                                                  Subtotal
                                                                                                                                                                2,928.00
Creditors Holding Unsecured Nonpriority Claims                                                                              (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




   In re          Rudy Zarate,                                                                                                 Case No.
                  Christina Danielle Zarate
                                                                                                                      ,
                                                                                                   Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                        (Continuation Sheet)




                                                                            C   Husband, Wife, Joint, or Community                             C   U   D
                    CREDITOR'S NAME,                                        O                                                                  O   N   I
                    MAILING ADDRESS                                         D   H                                                              N   L   S
                  INCLUDING ZIP CODE,
                                                                            E
                                                                                W
                                                                                              DATE CLAIM WAS INCURRED AND                      T   I   P
                                                                            B                                                                  I   Q   U
                 AND ACCOUNT NUMBER                                         T   J           CONSIDERATION FOR CLAIM. IF CLAIM                  N   U   T   AMOUNT OF CLAIM
                                                                            O   C             IS SUBJECT TO SETOFF, SO STATE.                  G   I   E
                   (See instructions above.)                                R                                                                  E   D   D
                                                                                                                                               N   A
                                                                                                                                               T   T
Account No. 1002231301                                                                                                                             E
                                                                                                                                                   D

Armor Systems Co
1700 Kiefer Dr Ste 1                                                                Swedish Covenant Medical Assoc                                                 Notice Only
Zion, IL 60099



Account No. 35299                                                                   Opened 12/01/05 Last Active 3/02/09
                                                                                    CreditCard
Target
Po Box 9475                                                                     H
Minneapolis, MN 55440

                                                                                                                                                                         496.00
Account No.

Target
Po Box 673                                                                          Target                                                                         Notice Only
Minneapolis, MN 55440



Account No. 35433                                                                   Opened 12/01/05 Last Active 2/28/09
                                                                                    CreditCard
Target
Po Box 9475                                                                     J
Minneapolis, MN 55440

                                                                                                                                                                         493.00
Account No.

Target
Po Box 673                                                                          Target                                                                         Notice Only
Minneapolis, MN 55440



           22 of _____
Sheet no. _____    22 sheets attached to Schedule of                                                                                         Subtotal
                                                                                                                                                                         989.00
Creditors Holding Unsecured Nonpriority Claims                                                                                     (Total of this page)
                                                                                                                                               Total
                                                                                                                     (Report on Summary of Schedules)                45,790.00


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B6G (Official Form 6G) (12/07)


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  In re             Rudy Zarate,                                                                                      Case No.
                    Christina Danielle Zarate
                                                                                                           ,
                                                                                           Debtors
                         SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
               Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature
               of debtor's interest in contract, i.e., "Purchaser", "Agent", etc. State whether debtor is the lessor or lessee of a lease. Provide the names and
               complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts,
               state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
               disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                  Check this box if debtor has no executory contracts or unexpired leases.
                                                                                            Description of Contract or Lease and Nature of Debtor's Interest.
                   Name and Mailing Address, Including Zip Code,                                 State whether lease is for nonresidential real property.
                       of Other Parties to Lease or Contract                                       State contract number of any government contract.

                     Adrian Gershom                                                           Lesee on primary residence, $1,250 per month set
                     2430 West Wilson Avenue                                                  to expire 5/31/2011
                     Apt. 3
                     Chicago, IL 60625




       0
                 continuation sheets attached to Schedule of Executory Contracts and Unexpired Leases
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B6H (Official Form 6H) (12/07)


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  In re          Rudy Zarate,                                                                                Case No.
                 Christina Danielle Zarate
                                                                                                      ,
                                                                                           Debtors
                                                                    SCHEDULE H - CODEBTORS
         Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed
     by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
     commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
     Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of
     any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used
     by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor,
     state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
     disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
         Check this box if debtor has no codebtors.
                  NAME AND ADDRESS OF CODEBTOR                                                NAME AND ADDRESS OF CREDITOR




       0
               continuation sheets attached to Schedule of Codebtors
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B6I (Official Form 6I) (12/07)

          Rudy Zarate
 In re    Christina Danielle Zarate                                                                     Case No.
                                                                         Debtor(s)

                           SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled "Spouse" must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is
filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income
calculated on this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.
Debtor's Marital Status:                                                  DEPENDENTS OF DEBTOR AND SPOUSE
                                        RELATIONSHIP(S):                                             AGE(S):
      Married                                Daughter                                               10 Years
                                             Daughter                                               2 Years
Employment:                                           DEBTOR                                                SPOUSE
Occupation                          Tech Support                                             Homemaker
Name of Employer                    The McGraw-Hill Companies
How long employed                   4 Years
Address of Employer                 One Prudential Plaza
                                    Chicago, IL 60601
INCOME: (Estimate of average or projected monthly income at time case filed)                                   DEBTOR                     SPOUSE
1. Monthly gross wages, salary, and commissions (Prorate if not paid monthly)                            $       4,184.81         $            0.00
2. Estimate monthly overtime                                                                             $           0.00         $            0.00

3. SUBTOTAL                                                                                              $         4,184.81       $             0.00


4. LESS PAYROLL DEDUCTIONS
     a. Payroll taxes and social security                                                                $             537.55     $             0.00
     b. Insurance                                                                                        $             286.52     $             0.00
     c. Union dues                                                                                       $               0.00     $             0.00
     d. Other (Specify):       401 (k)                                                                   $              83.70     $             0.00
                               Healthcare FSA                                                            $              10.83     $             0.00

5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                        $             918.60     $             0.00

6. TOTAL NET MONTHLY TAKE HOME PAY                                                                       $         3,266.21       $             0.00

7. Regular income from operation of business or profession or farm (Attach detailed statement)           $               0.00     $             0.00
8. Income from real property                                                                             $               0.00     $             0.00
9. Interest and dividends                                                                                $               0.00     $             0.00
10. Alimony, maintenance or support payments payable to the debtor for the debtor's use or that of
      dependents listed above                                                                            $               0.00     $             0.00
11. Social security or government assistance
(Specify):                                                                                               $               0.00     $             0.00
                                                                                                         $               0.00     $             0.00
12. Pension or retirement income                                                                         $               0.00     $             0.00
13. Other monthly income
(Specify):                                                                                               $               0.00     $             0.00
                                                                                                         $               0.00     $             0.00

14. SUBTOTAL OF LINES 7 THROUGH 13                                                                       $               0.00     $             0.00

15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                         $         3,266.21       $             0.00

16. COMBINED AVERAGE MONTHLY INCOME: (Combine column totals from line 15)                                          $            3,266.21
                                                                                (Report also on Summary of Schedules and, if applicable, on
                                                                                Statistical Summary of Certain Liabilities and Related Data)
 17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
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B6J (Official Form 6J) (12/07)

          Rudy Zarate
 In re    Christina Danielle Zarate                                                           Case No.
                                                                  Debtor(s)

         SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
     Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor's family at time case
filed. Prorate any payments made bi-weekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly
expenses calculated on this form may differ from the deductions from income allowed on Form 22A or 22C.

    Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of
expenditures labeled "Spouse."
1. Rent or home mortgage payment (include lot rented for mobile home)                                       $                 1,250.00
 a. Are real estate taxes included?                            Yes                No X
 b. Is property insurance included?                            Yes                No X
2. Utilities:      a. Electricity and heating fuel                                                          $                   100.00
                   b. Water and sewer                                                                       $                     0.00
                   c. Telephone                                                                             $                    50.00
                   d. Other See Detailed Expense Attachment                                                 $                   195.00
3. Home maintenance (repairs and upkeep)                                                                    $                     0.00
4. Food                                                                                                     $                   750.00
5. Clothing                                                                                                 $                   200.00
6. Laundry and dry cleaning                                                                                 $                    65.00
7. Medical and dental expenses                                                                              $                   100.00
8. Transportation (not including car payments)                                                              $                   200.00
9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                         $                    45.00
10. Charitable contributions                                                                                $                    20.00
11. Insurance (not deducted from wages or included in home mortgage payments)
                   a. Homeowner's or renter's                                                               $                     0.00
                   b. Life                                                                                  $                     0.00
                   c. Health                                                                                $                     0.00
                   d. Auto                                                                                  $                     0.00
                   e. Other                                                                                 $                     0.00
12. Taxes (not deducted from wages or included in home mortgage payments)
                 (Specify)                                                                                   $                    0.00
13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the
plan)
                   a. Auto                                                                                  $                     0.00
                   b. Other                                                                                 $                     0.00
                   c. Other                                                                                 $                     0.00
14. Alimony, maintenance, and support paid to others                                                        $                     0.00
15. Payments for support of additional dependents not living at your home                                   $                     0.00
16. Regular expenses from operation of business, profession, or farm (attach detailed statement)            $                     0.00
17. Other See Detailed Expense Attachment                                                                   $                   290.00

18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,                    $                 3,265.00
if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)
19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year
following the filing of this document:

20. STATEMENT OF MONTHLY NET INCOME
a. Average monthly income from Line 15 of Schedule I                                                        $                 3,266.21
b. Average monthly expenses from Line 18 above                                                              $                 3,265.00
c. Monthly net income (a. minus b.)                                                                         $                     1.21
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           Rudy Zarate
 In re     Christina Danielle Zarate                                            Case No.
                                                            Debtor(s)

                   SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
                                                Detailed Expense Attachment
Other Utility Expenditures:
Cable                                                                                      $            40.00
Internet                                                                                   $            25.00
Cell                                                                                       $           130.00
Total Other Utility Expenditures                                                           $           195.00




Other Expenditures:
grooming, bank fees, newspapers, books,                                                    $           185.00
pet care                                                                                   $            25.00
babysitting                                                                                $            80.00
Total Other Expenditures                                                                   $           290.00
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B6 Declaration (Official Form 6 - Declaration). (12/07)
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                                                                 United States Bankruptcy Court
                                                                          Northern District of Illinois
             Rudy Zarate
 In re       Christina Danielle Zarate                                                                             Case No.
                                                                                          Debtor(s)                Chapter    7




                                        DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                    DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR




                     I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of                   38
            sheets, and that they are true and correct to the best of my knowledge, information, and belief.




 Date June 28, 2010                                                           Signature   /s/ Rudy Zarate
                                                                                          Rudy Zarate
                                                                                          Debtor


 Date June 28, 2010                                                           Signature   /s/ Christina Danielle Zarate
                                                                                          Christina Danielle Zarate
                                                                                          Joint Debtor

     Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                      18 U.S.C. §§ 152 and 3571.




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B7 (Official Form 7) (04/10)



                                                                United States Bankruptcy Court
                                                                         Northern District of Illinois
             Rudy Zarate
 In re       Christina Danielle Zarate                                                                         Case No.
                                                                                         Debtor(s)             Chapter        7


                                                        STATEMENT OF FINANCIAL AFFAIRS

           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for
both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or
not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individual's personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11
U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

          Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete
Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer
to any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.


                                                                                         DEFINITIONS

          "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
business" for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of
the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner,
other than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be "in business"
for the purpose of this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the
debtor's primary employment.

          "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
corporations of which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5 percent or more of the voting or
equity securities of a corporate debtor and their relatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 11
U.S.C. § 101.


               1. Income from employment or operation of business

    None       State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's
               business, including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar
               year to the date this case was commenced. State also the gross amounts received during the two years immediately preceding this
               calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may
               report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income of both spouses whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                          AMOUNT                                  SOURCE
                          $22,474.01                              2010 - husb - ytd
                          $41,882.00                              2009 - husb
                          $48,081.00                              2008 - husb




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                                                                                                                                                               2

               2. Income other than from employment or operation of business

      None     State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business
               during the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                           AMOUNT                                  SOURCE

               3. Payments to creditors

      None     Complete a. or b., as appropriate, and c.

               a. Individual or joint debtor(s) with primarily consumer debts. List all payments on loans, installment purchases of goods or services,
               and other debts to any creditor made within 90 days immediately preceding the commencement of this case unless the aggregate value
               of all property that constitutes or is affected by such transfer is less than $600. Indicate with an (*) any payments that were made to a
               creditor on account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved
               nonprofit budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by
               either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

    NAME AND ADDRESS                                                              DATES OF                                                 AMOUNT STILL
       OF CREDITOR                                                                PAYMENTS                            AMOUNT PAID            OWING

      None     b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days
               immediately preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such
               transfer is less than $5,850*. If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on
               account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit
               budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments and other
               transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                                                                                           AMOUNT
                                                                                  DATES OF                                  PAID OR
                                                                                  PAYMENTS/                               VALUE OF         AMOUNT STILL
    NAME AND ADDRESS OF CREDITOR                                                  TRANSFERS                              TRANSFERS           OWING

      None     c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of
               creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

    NAME AND ADDRESS OF CREDITOR AND                                                                                                       AMOUNT STILL
         RELATIONSHIP TO DEBTOR                                                   DATE OF PAYMENT                     AMOUNT PAID            OWING

               4. Suits and administrative proceedings, executions, garnishments and attachments

      None     a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of
               this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses
               whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

    CAPTION OF SUIT                                                                            COURT OR AGENCY               STATUS OR
    AND CASE NUMBER                             NATURE OF PROCEEDING                           AND LOCATION                  DISPOSITION
    Capital One Bank (USA),                     collections                                    Circuit Court of Cook County, pending
    N.A. v. Tina D Zarate aka                                                                  Illinois
    Christina D Neeley                                                                         Chicago, Illinois
    10M1 135208
    Tina Zarate v Ilie Venter &                 personal injury claim arising Circuit Court of Cook County, pending
    Livia Venter                                out of motor vehicle          Illinois
    2010 M1 301236                              accident                      Chicago, Illinois




*   Amount subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

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                                                                                                                                                             3
    None       b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately
               preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
               property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

 NAME AND ADDRESS OF PERSON FOR WHOSE                                                               DESCRIPTION AND VALUE OF
    BENEFIT PROPERTY WAS SEIZED                                               DATE OF SEIZURE              PROPERTY

               5. Repossessions, foreclosures and returns

    None       List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or
               returned to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12
               or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
               spouses are separated and a joint petition is not filed.)

                                                                         DATE OF REPOSSESSION,
 NAME AND ADDRESS OF                                                       FORECLOSURE SALE,          DESCRIPTION AND VALUE OF
  CREDITOR OR SELLER                                                      TRANSFER OR RETURN                  PROPERTY

               6. Assignments and receiverships

    None       a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of
               this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a
               joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                      DATE OF
 NAME AND ADDRESS OF ASSIGNEE                                         ASSIGNMENT                      TERMS OF ASSIGNMENT OR SETTLEMENT

    None       b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately
               preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
               property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                                 NAME AND LOCATION
 NAME AND ADDRESS                                                     OF COURT                         DATE OF       DESCRIPTION AND VALUE OF
   OF CUSTODIAN                                                  CASE TITLE & NUMBER                   ORDER               PROPERTY

               7. Gifts

    None       List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary
               and usual gifts to family members aggregating less than $200 in value per individual family member and charitable contributions
               aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by
               either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

   NAME AND ADDRESS OF                                           RELATIONSHIP TO                                       DESCRIPTION AND
 PERSON OR ORGANIZATION                                           DEBTOR, IF ANY                      DATE OF GIFT      VALUE OF GIFT
 North Congregation of Jehovah's                                 None                                 Monthly          Value: $20
 Witness
 1250 West Farwell Avenue
 Chicago, IL 60626

               8. Losses

    None       List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or
               since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                                     DESCRIPTION OF CIRCUMSTANCES AND, IF
 DESCRIPTION AND VALUE                                                               LOSS WAS COVERED IN WHOLE OR IN PART
     OF PROPERTY                                                                        BY INSURANCE, GIVE PARTICULARS           DATE OF LOSS




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                                                                                                                                                                4

               9. Payments related to debt counseling or bankruptcy

    None       List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation
               concerning debt consolidation, relief under the bankruptcy law or preparation of the petition in bankruptcy within one year immediately
               preceding the commencement of this case.

                                                                                   DATE OF PAYMENT,                          AMOUNT OF MONEY
 NAME AND ADDRESS                                                               NAME OF PAYOR IF OTHER                  OR DESCRIPTION AND VALUE
     OF PAYEE                                                                         THAN DEBTOR                               OF PROPERTY
 Lorraine M. Greenberg                                                          6/2010                                 $299 for court costs; $1,000
 150 North Michigan Avenue                                                                                             for attorneys fees
 Suite 800
 Chicago, IL 60601

               10. Other transfers

    None       a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor,
               transferred either absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors
               filing under chapter 12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the
               spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF TRANSFEREE,                                                                     DESCRIBE PROPERTY TRANSFERRED
     RELATIONSHIP TO DEBTOR                                                   DATE                          AND VALUE RECEIVED

    None       b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled
               trust or similar device of which the debtor is a beneficiary.

 NAME OF TRUST OR OTHER                                                                              AMOUNT OF MONEY OR DESCRIPTION AND
 DEVICE                                                                       DATE(S) OF             VALUE OF PROPERTY OR DEBTOR'S INTEREST
                                                                              TRANSFER(S)            IN PROPERTY

               11. Closed financial accounts

    None       List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or
               otherwise transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other
               financial accounts, certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds,
               cooperatives, associations, brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must
               include information concerning accounts or instruments held by or for either or both spouses whether or not a joint petition is filed,
               unless the spouses are separated and a joint petition is not filed.)

                                                                                  TYPE OF ACCOUNT, LAST FOUR
                                                                                  DIGITS OF ACCOUNT NUMBER,             AMOUNT AND DATE OF SALE
 NAME AND ADDRESS OF INSTITUTION                                                AND AMOUNT OF FINAL BALANCE                       OR CLOSING
 Fidelity                                                                       401K                                    Final Balance: $307
 PO Box 770001                                                                  Final Balance $307                      Date Closed: 9/09
 Cincinnati, OH 45277
 Washington Mutual                                                              Checking and Savings 6090               Final Balance: $100
 3252 N Lincoln Ave                                                             Final Balance: $100                     Date Closed: 7/09
 Chicago, IL 60614

               12. Safe deposit boxes

    None       List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year
               immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or
               depositories of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                             NAMES AND ADDRESSES
 NAME AND ADDRESS OF BANK                                    OF THOSE WITH ACCESS                     DESCRIPTION               DATE OF TRANSFER OR
  OR OTHER DEPOSITORY                                        TO BOX OR DEPOSITORY                     OF CONTENTS                SURRENDER, IF ANY




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                                                                                                                                                             5

               13. Setoffs

    None       List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the
               commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR                                                   DATE OF SETOFF                             AMOUNT OF SETOFF

               14. Property held for another person

    None       List all property owned by another person that the debtor holds or controls.


 NAME AND ADDRESS OF OWNER                                   DESCRIPTION AND VALUE OF PROPERTY                     LOCATION OF PROPERTY

               15. Prior address of debtor

    None       If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor
               occupied during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate
               address of either spouse.

 ADDRESS                                                                        NAME USED                                  DATES OF OCCUPANCY
 3905 N Albany                                                                  Rudy Zarate                                6/07 - 6/08
 Chicago, IL 60618                                                              Christina Zarate aka Tina Zarate

               16. Spouses and Former Spouses

    None       If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho,
               Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the
               commencement of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in
               the community property state.

 NAME

               17. Environmental Information.

               For the purpose of this question, the following definitions apply:

               "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous
               or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to,
               statutes or regulations regulating the cleanup of these substances, wastes, or material.

                      "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly
                      owned or operated by the debtor, including, but not limited to, disposal sites.

                      "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material,
                      pollutant, or contaminant or similar term under an Environmental Law

    None       a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable
               or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known,
               the Environmental Law:

                                                             NAME AND ADDRESS OF                         DATE OF                ENVIRONMENTAL
 SITE NAME AND ADDRESS                                       GOVERNMENTAL UNIT                           NOTICE                 LAW

    None       b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous
               Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

                                                             NAME AND ADDRESS OF                         DATE OF                ENVIRONMENTAL
 SITE NAME AND ADDRESS                                       GOVERNMENTAL UNIT                           NOTICE                 LAW




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                                                                                                                                                               6
    None       c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which
               the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the
               docket number.

 NAME AND ADDRESS OF
 GOVERNMENTAL UNIT                                                              DOCKET NUMBER                           STATUS OR DISPOSITION

               18 . Nature, location and name of business

    None       a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a
               partnership, sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years
               immediately preceding the commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities
               within six years immediately preceding the commencement of this case.

               If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six
               years immediately preceding the commencement of this case.

               If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six
               years immediately preceding the commencement of this case.

                                    LAST FOUR DIGITS OF
                                    SOCIAL-SECURITY OR
                                    OTHER INDIVIDUAL
                                    TAXPAYER-I.D. NO.                                                                              BEGINNING AND
 NAME                               (ITIN)/ COMPLETE EIN                  ADDRESS                 NATURE OF BUSINESS               ENDING DATES

    None       b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.


 NAME                                                                         ADDRESS




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                                 DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto
and that they are true and correct.


 Date June 28, 2010                                                           Signature        /s/ Rudy Zarate
                                                                                               Rudy Zarate
                                                                                               Debtor


 Date June 28, 2010                                                           Signature        /s/ Christina Danielle Zarate
                                                                                               Christina Danielle Zarate
                                                                                               Joint Debtor

                   Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571




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                                                                          Northern District of Illinois
             Rudy Zarate
 In re       Christina Danielle Zarate                                                                             Case No.
                                                                                          Debtor(s)                Chapter     7


                                  CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION

PART A - Debts secured by property of the estate. (Part A must be fully completed for EACH debt which is secured by
     property of the estate. Attach additional pages if necessary.)

 Property No. 1

 Creditor's Name:                                                                          Describe Property Securing Debt:
 -NONE-

 Property will be (check one):
        Surrendered                                                            Retained

 If retaining the property, I intend to (check at least one):
          Redeem the property
          Reaffirm the debt
          Other. Explain                              (for example, avoid lien using 11 U.S.C. § 522(f)).

 Property is (check one):
        Claimed as Exempt                                                                     Not claimed as exempt

PART B - Personal property subject to unexpired leases. (All three columns of Part B must be completed for each unexpired lease.
Attach additional pages if necessary.)

 Property No. 1

 Lessor's Name:                                                  Describe Leased Property:                       Lease will be Assumed pursuant to 11
 -NONE-                                                                                                          U.S.C. § 365(p)(2):
                                                                                                                    YES              NO


I declare under penalty of perjury that the above indicates my intention as to any property of my estate securing a debt and/or
personal property subject to an unexpired lease.


 Date June 28, 2010                                                           Signature   /s/ Rudy Zarate
                                                                                          Rudy Zarate
                                                                                          Debtor


 Date June 28, 2010                                                           Signature   /s/ Christina Danielle Zarate
                                                                                          Christina Danielle Zarate
                                                                                          Joint Debtor




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                                                                          Northern District of Illinois
             Rudy Zarate
 In re       Christina Danielle Zarate                                                                            Case No.
                                                                                          Debtor(s)               Chapter    7


                           DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named debtor and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
              For legal services, I have agreed to accept                                                     $                  1,000.00
              Prior to the filing of this statement I have received                                           $                  1,000.00
              Balance Due                                                                                     $                      0.00

2.     The source of the compensation paid to me was:

                   Debtor                  Other (specify):

3.     The source of compensation to be paid to me is:
                   Debtor                  Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 preparing documents for filing bankruptcy petition and schedules; ordering tax transcripts, credit reports when
                 necessary, background check, possibly verification of assets, and possibly verification of valuations of assets,
                 review of income to determine CMI and DMI, reviewing documents with client, attending meeting of creditors,
                 advising client regarding reaffirmation agreements, redemption, notifying creditors of bankruptcy filing; motions
                 to avoid liens in personal property

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               representation in any adversary proceeding unless specifically contracted for and additional fees are paid; and
               unless otherwise provided for in the Court's Model Retention Agreement mandated to be used in Chapter 13
               cases, the following professional legal services are not included unless specifically contracted for and additional
               fees are paid: 1) the preparation of and presentation of motion for redemption; 2) and the preparation of and
               presentation of motions to avoid judicial lien; 2) and the preparation of and presentation of motions to avoid lien
               in personal property.
                                                                                     CERTIFICATION

       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

 Dated:       June 28, 2010                                                               /s/ Lorraine M. Greenberg ARDC No.:
                                                                                          Lorraine M. Greenberg ARDC No.: 3129023
                                                                                          Lorraine M. Greenberg
                                                                                          150 North Michigan Avenue
                                                                                          Suite 800
                                                                                          Chicago, IL 60601
                                                                                          312-588-3330 Fax: 312-264-5620
                                                                                          lgreenberg@greenberglaw.net




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B 201A (Form 201A) (12/09)

WARNING: Effective December 1, 2009, the 15-day deadline to file schedules and certain other documents under Bankruptcy
             Rule 1007(c) is shortened to 14 days. For further information, see note at bottom of page 2
                                                       UNITED STATES BANKRUPTCY COURT
                                                        NORTHERN DISTRICT OF ILLINOIS
                                           NOTICE TO CONSUMER DEBTOR(S) UNDER § 342(b)
                                                    OF THE BANKRUPTCY CODE
          In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer debts: (1) Describes
briefly the services available from credit counseling services; (2) Describes briefly the purposes, benefits and costs of the four types of
bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and notifies you that the Attorney General
may examine all information you supply in connection with a bankruptcy case.

         You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the advice of an
attorney to learn of your rights and responsibilities should you decide to file a petition. Court employees cannot give you legal advice.

         Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In order to ensure that
you receive information about events concerning your case, Bankruptcy Rule 4002 requires that you notify the court of any changes in
your address. If you are filing a joint case (a single bankruptcy case for two individuals married to each other), and each spouse lists
the same mailing address on the bankruptcy petition, you and your spouse will generally receive a single copy of each notice mailed
from the bankruptcy court in a jointly-addressed envelope, unless you file a statement with the court requesting that each spouse
receive a separate copy of all notices.

1. Services Available from Credit Counseling Agencies
          With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for bankruptcy
relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit counseling and
provides assistance in performing a budget analysis. The briefing must be given within 180 days before the bankruptcy filing. The
briefing may be provided individually or in a group (including briefings conducted by telephone or on the Internet) and must be
provided by a nonprofit budget and credit counseling agency approved by the United States trustee or bankruptcy administrator. The
clerk of the bankruptcy court has a list that you may consult of the approved budget and credit counseling agencies. Each debtor in a
joint case must complete the briefing.

          In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management
instructional course before he or she can receive a discharge. The clerk also has a list of approved financial management
instructional courses. Each debtor in a joint case must complete the course.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

            Chapter 7: Liquidation ($245 filing fee, $39 administrative fee, $15 trustee surcharge: Total Fee $299)
         Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Debtors whose
debts are primarily consumer debts are subject to a "means test" designed to determine whether the case should be permitted to
proceed under chapter 7. If your income is greater than the median income for your state of residence and family size, in some cases,
the United States trustee (or bankruptcy administrator), the trustee, or creditors have the right to file a motion requesting that the court
dismiss your case under § 707(b) of the Code. It is up to the court to decide whether the case should be dismissed.
         Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the right to take
possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.
         The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have
committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge and, if it does, the
purpose for which you filed the bankruptcy petition will be defeated.
         Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may still be
responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support and property settlement
obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts which are not properly listed in your
bankruptcy papers; and debts for death or personal injury caused by operating a motor vehicle, vessel, or aircraft while intoxicated
from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud, breach of fiduciary duty, or theft, or from a willful and
malicious injury, the bankruptcy court may determine that the debt is not discharged.

            Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee,
            $39 administrative fee: Total fee $274)


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Form B 201A, Notice to Consumer Debtor(s)                                                                                         Page 2

         Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in installments over
a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth in the Bankruptcy
Code.
         Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe them, using
your future earnings. The period allowed by the court to repay your debts may be three years or five years, depending upon your
income and other factors. The court must approve your plan before it can take effect.
         After completing the payments under your plan, your debts are generally discharged except for domestic support obligations;
most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not properly listed in your
bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term secured obligations.

            Chapter 11: Reorganization ($1000 filing fee, $39 administrative fee: Total fee $1039)
        Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are quite
complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.

            Chapter 12: Family Farmer or Fisherman ($200 filing fee, $39 administrative fee: Total fee $239)
         Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future earnings
and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises primarily from a
family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials
          A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury, either
orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All information supplied by a
debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through the Office of the United
States Trustee, the Office of the United States Attorney, and other components and employees of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your creditors,
assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this information is not
filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the local rules of the court. The
documents and the deadlines for filing them are listed on Form B200, which is posted at
http://www.uscourts.gov/bkforms/bankruptcy_forms.html#procedure.

Many filing deadlines change on December 1, 2009. Of special note, 12 rules that set 15 days to act are amended to require
action within 14 days, including Rule 1007(c), filing the initial case papers; Rule 3015(b), filing a chapter 13 plan; Rule
8009(a), filing appellate briefs; and Rules 1019, 1020, 2015, 2015.1, 2016, 4001, 4002, 6004, and 6007.




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                                                                 United States Bankruptcy Court
                                                                          Northern District of Illinois
             Rudy Zarate
 In re       Christina Danielle Zarate                                                                           Case No.
                                                                                       Debtor(s)                 Chapter        7


                                     CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                                         UNDER § 342(b) OF THE BANKRUPTCY CODE
                                                                             Certification of Debtor
            I (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy
Code.
 Rudy Zarate
 Christina Danielle Zarate                                                               X /s/ Rudy Zarate                             June 28, 2010
 Printed Name(s) of Debtor(s)                                                              Signature of Debtor                         Date

 Case No. (if known)                                                                     X /s/ Christina Danielle Zarate               June 28, 2010
                                                                                           Signature of Joint Debtor (if any)          Date




Instructions: Attach a copy of Form B 201 A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) only if the certification has NOT been made on the
Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by the debtor's attorney that the attorney has given the
notice to the debtor. The Declarations made by debtors and bankruptcy petition preparers on page 3 of Form B1 also include this certification.
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                                                                         Northern District of Illinois
             Rudy Zarate
 In re       Christina Danielle Zarate                                                                          Case No.
                                                                                         Debtor(s)              Chapter    7




                                                       VERIFICATION OF CREDITOR MATRIX

                                                                                                Number of Creditors:                                 78




            The above-named Debtor(s) hereby verifies that the list of creditors is true and correct to the best of my
            (our) knowledge.




 Date:      June 28, 2010                                                     /s/ Rudy Zarate
                                                                              Rudy Zarate
                                                                              Signature of Debtor

 Date:      June 28, 2010                                                     /s/ Christina Danielle Zarate
                                                                              Christina Danielle Zarate
                                                                              Signature of Debtor




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                      1st Financial Federal Credit Union
                      5916 North Lindbergh
                      Hazelwood, MO 63042


                      Academy Collection Service Inc
                      10965 Decatur Rd
                      Philadelphia, PA 19154


                      Accounts Receivable Mgmt
                      Po Box 129
                      Thorofare, NJ 08086


                      Adrian Gershom
                      2430 West Wilson Avenue
                      Apt. 3
                      Chicago, IL 60625


                      Advantage Assets Ii Inc
                      7322 Southwest Freeway
                      Suite 1600
                      Houston, TX 77074


                      Amc Anesthesia
                      5145 N California Ave
                      Chicago, IL 60625


                      Applied Card Bank
                      601 Delaware Ave
                      Wilmington, DE 19801


                      Applied Card Bank / Cross Country
                      Attention: General Inquiries
                      Po Box 17125
                      Wilmington, DE 19850


                      Armor Systems Co
                      1700 Kiefer Dr
                      Suite 1
                      Zion, IL 60099


                      Armor Systems Co
                      1700 Kiefer Dr Ste 1
                      Zion, IL 60099
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                  AT&T
                  PO Box 5014
                  Carol Stream, IL 60197


                  Atlantic Crd
                  P O Box 13386
                  Roanoke, VA 24033


                  Atlantic Crd
                  Po Box 13386
                  Roanoke, VA 24033


                  Atlatnic Credit and Finance Inc
                  Po Box 1187
                  Roanoke, VA 24022


                  Berlin-Wheeler Inc
                  711 West McCarty St
                  Jefferson City, MO 65101


                  Blatt, Hasenmiller, Leibsker & Moor
                  125 South Wacke Drive, Ste. 400
                  Chicago, IL 60606


                  Blatt, Hasenmiller, Leibsker, Moore
                  125 South Wacke Drive, Ste. 400
                  Chicago, IL 60606


                  Breakthrough Pain Relief Clinic
                  190 Spring Dr
                  Saint Charles, MO 63303


                  Breakthrough Pain Relief Clinic
                  1585 Woodlake Dr
                  Suite 214
                  Chesterfield, MO 63017


                  Cach Llc
                  Attention: Bankruptcy Department
                  4340 South Monaco St. 2nd Floor
                  Denver, CO 80237


                  Cach Llc
                  370 17th Street
                  Denver, CO 80202
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                  Calvary Portfolio Services
                  Attention: Bankruptcy Department
                  Po Box 1017
                  Hawthorne, NY 10532


                  Calvary Portfolio Services
                  7 Skyline Dr Ste 3
                  Hawthorne, NY 10532


                  Capital Management Services Lp
                  726 Exchange St
                  Suite 700
                  Buffalo, NY 14210


                  Capital One
                  PO Box 30281
                  Salt Lake City, UT 84130


                  Capital One Bank
                  Po Box 6492
                  Carol Stream, IL 60197


                  Capital One Bank
                  PO Box 30285
                  Salt Lake City, UT 84130-0285


                  Capital One, N.a.
                  C/O American Infosource
                  Po Box 54529
                  Oklahoma City, OK 73154


                  Capital One, N.a.
                  Po Box 85520
                  Richmond, VA 23285


                  Chase
                  PO Box 15298
                  Wilmington, DE 19850-5298


                  Chase / Providian
                  Attn: Bankruptcy Dept
                  Po Box 100018
                  Kennesaw, GA 30156
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                  Citibank Usa
                  Attn.: Centralized Bankruptcy
                  Po Box 20363
                  Kansas City, MO 64195


                  Citibank Usa
                  Po Box 6497
                  Sioux Falls, SD 57117


                  Citibank Usa / Home Depot
                  Attn.: Centralized Bankruptcy
                  Po Box 20363
                  Kansas City, MO 64195


                  Client Services Inc
                  3451 Harry Truman Blvd
                  Saint Charles, MO 63301


                  Consumer Adjustment Co
                  12855 Tesson Ferry Rd
                  Saint Louis, MO 63128


                  Credit First N.A / Dayton
                  Po Box 81344
                  Cleveland, OH 44188


                  Credit First N.A / Firestone
                  Po Box 81344
                  Cleveland, OH 44188


                  Credit One Bank
                  Po Box 98875
                  Las Vegas, NV 89193


                  Dish Network
                  Dept 0063
                  Palatine, IL 60055


                  Dr. Brenda Onia
                  6374 N Lincoln Ave
                  Chicago, IL 60659


                  Enhanced Recovery Corp
                  8014 Bayberry Rd
                  Jacksonville, FL 32256
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                  First National Collection
                  230 S. Rock Blvd
                  Reno, NV 89502


                  First Premier Bank
                  601 S Minnesota Ave
                  Sioux Falls, SD 57104


                  GC Services
                  Attn: Bankruptcy
                  8400 Miramar Rd. Suite 250
                  San Diego, CA 92126


                  GC Services
                  6330 Gulfton
                  Houston, TX 77081


                  GE Money Bank
                  Po Box 981064
                  San Diego, CA 92193


                  GE Money Bank / Walmart
                  Po Box 530927
                  Atlanta, GA 30353


                  Home Depot Credit Services
                  PO Box 653000
                  Dallas, TX 75265-3000


                  Hsbc
                  Po Box 60102
                  City of Industry, CA 91716


                  Hsbc / Orchard Bank
                  PO Box 2013
                  Buffalo, NY 14240


                  Hsbc Bank Platinum
                  Po Box 81622
                  Salinas, CA 93912


                  IC System Inc
                  444 Highway 96 East
                  PO Box 64887
                  Saint Paul, MN 55164
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                  L.O. Blatt, Hasenmiller, Leibsker
                  Po Box 5463
                  Chicago, IL 60680


                  Laclede Gas Co
                  Drawer 2
                  Saint Louis, MO 63171


                  Law Office of John P Frye PC
                  PO Box 13665
                  Roanoke, VA 24036


                  Law Offices of Mitchell N Kay
                  205 West Randolph St
                  Suite 920
                  Chicago, IL 60606


                  Ltd Financial Svcs Lp
                  7322 Southwest Fwy Ste 1
                  Houston, TX 77074


                  Lvnv Funding Llc
                  Po Box 740281
                  Houston, TX 77274


                  Management Services Inc
                  PO Box 1099
                  Langhorne, PA 19047


                  Matrix Absence Management Inc
                  5225 Hellyer Ave
                  Suite 210
                  San Jose, CA 95138


                  McKinley Chiropractic PC
                  PO Box 270345
                  Milwaukee, WI 53227


                  Midland Credit Management
                  Po Box 939019
                  San Diego, CA 92193


                  Midland Credit Management
                  8875 Aero Dr
                  San Diego, CA 92123
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                  National Enterprise Systems
                  29125 Salon Road
                  Solon, OH 44139


                  NCO Financial
                  Po Box 12100
                  Dept 64
                  Trenton, NJ 08650


                  Northland Group Inc
                  PO Box 390905
                  Minneapolis, MN 55439


                  Northshore Pediatric Associates
                  6373 N Lincoln Ave
                  Suite 203
                  Chicago, IL 60659


                  Northwestern Hospital
                  251 East Huron St
                  Chicago, IL 60611


                  Pinnacle
                  7900 Highway 7
                  Minneapolis, MN 55426


                  Pinnacle Credit Serivc
                  Po Box 640
                  Hopkins, MN 55343


                  Pinnacle Credit Serivc
                  7900 Highway 7 # 100
                  Saint Louis Park, MN 55426


                  Resurgent Capital Services Lp
                  Po Box 10497
                  Greenville, SC 29603


                  Swedish Covenant Hospital
                  5145 N California Ave
                  Chicago, IL 60625


                  Swedish Covenant Medical Assoc
                  3649 Paysphere Circle
                  Chicago, IL 60674
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                  Target
                  Po Box 9475
                  Minneapolis, MN 55440


                  Target
                  Po Box 673
                  Minneapolis, MN 55440


                  West Asset Management
                  7171 Mercy Rd
                  Omaha, NE 68106
